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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 NICE SYSTEMS, INC., a Delaware Corporation, and         )
 NICE SYSTEMS, LTD., an Israeli Corporation,             )
                                                         )
                                    Plaintiffs,          )
                              v.                         )   Civil Action No. 06-311-JJF
                                                         )
 WITNESS SYSTEMS, INC, a Delaware Corporation,           )
                                                         )
                                    Defendant.           )

                             JOINT CLAIM CONSTRUCTION CHART


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                                                AMENDED JOINT CLAIM CONSTRUCTION

I. CLAIM CONSTRUCTION AGREED TO BY THE PARTIES

NICE Systems Inc. and Witness Systems Inc. agree to the proposed construction for the following claim terms:

PATENT               RELEVANT CLAIM       CLAIM TERM                           PROPOSED CONSTRUCTION
U.S. NO. 5,274,738   Claim 1              a second bus                         TDM bus
U.S. NO. 5,396,371   Claim 8              partition                            A portion of a random access storage (RAS) device.
U.S. No. 6,249,570   Claim 6 and 7        lifetime of the telephone call       An entire telephone call.
U.S. No. 6,728,345   Claim 14 and 40      lifetime of a telephone call         An entire telephone call.
U.S. No. 6,728,345   Claim 40             participant                          An entity that is involved in a phone call which can include
                                                                               people, voice response units or placeholders from parties being
                                                                               placed on hold.
U.S. No. 6,785,370   Claim 1 and 27       lifetimes of telephone calls         Two or more entire telephone calls.
U.S. No. 6,959,079   Claim 5              evaluator                            A component used to design evaluation forms.
U.S. No. 6,959,079   Claim 6              automated evaluations                Evaluations performed by predefined programming.
U.S. No. 7,010,109   Claim 1              communication device                 A device used for transmitting and/or receiving audio and/or
                                                                               video information.
U.S. No. 7,010,109   Claim 1              conference call                      A multi-participant session, even if only two participants are
                                                                               present, one of which is a recording device.
U.S. No. 7,010,109   Claim 1              participant                          A communication device or recording device which is present on
                                                                               a conference call.
U.S. No. 7,010,109   Claim 16 and 29      hunt group                           Any type of virtual or non-fixed telephone extension systems, in
                                                                               which a central control unit determines the physical extension
                                                                               which is used.


There are 46 non-duplicative claim terms in need of construction by the Court. These disputed claim terms along with the parties’
respective proposed construction and citation to intrinsic support are set forth below. The parties have jointly filed an appendix
containing copies of the intrinsic and extrinsic evidence relied on by each party.


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II. DISPUTED CLAIM TERMS AND PROPOSED CONSTRUCTIONS

U.S. PATENT NO. 5,274,738          NICE’S           WITNESS’            NICE’S PROPOSED                    WITNESS’ PROPOSED
                                   DISPUTED         DISPUTED            CONSTRUCTION                       CONSTRUCTION
                                   CLAIM TERMS      CLAIM TERMS
1. A digital modular voice
processing system comprising:
 a) a host computer having a
   host processor, and a
   storage medium, a memory
   and a bus interface in
   communication with said
   host processor,
 b) a first bus in
  communication with said
  bus interface,
 c) a voice processing card        digital signal   digital signal      A specialized processor that       Special purpose processor that
   having at least one digital     processor        processor           processes digital data.            performs low-level functions on
   signal processor and at least                                                                           voice signals.
   one application processor in
                                                                        Intrinsic evidence:
   communication with said at
                                                                        Figs. 1, 2                         Intrinsic evidence:
   least one digital signal
   processor, a first interface                                         col. 1: 38-43                      ‘738 Patent, Fig. 1, 2:53-3:2, 4:25-
   providing communication                                                                                 29 (WSNSDE0008620-25).
                                                                        col. 1: 51-54
   between said at least one                                            col. 2: 51 - col. 3: 2
   application processor and
   said first bus, and a first                                          col. 3: 25-35
   time division multiplexer                                            col. 4: 24-28
   chip in communication with                                           claim 5
   said at least one digital                                            claim 8
   signal processor,
                                                                        ’738 Prosecution History, Office
                                                                        Action, p. 3-4 (Feb. 1993)



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                                                 AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,274,738      NICE’S            WITNESS’         NICE’S PROPOSED                       WITNESS’ PROPOSED
                               DISPUTED          DISPUTED         CONSTRUCTION                          CONSTRUCTION
                               CLAIM TERMS       CLAIM TERMS
                                                                  ’738 Prosecution History,
                                                                  Response, p. 5-8 (May 1993)
                                                                  U.S. Patent No. 4,991,217 (Garrett,
                                                                  et al.)
                               application       application      A processor that processes            Processor that implements high-
                               processor         processor        information received from the         level applications of the system.
                                                                  digital signal processor.
                                                                                                        Intrinsic evidence:
                                                                  Intrinsic evidence:                   ‘738 Patent, Fig. 1, 1:32-36, 2:49-
                                                                  Figs. 1, 2                            57, 4:28-39 (WSNSDE0008620-
                                                                  col. 1: 27-35                         25).
                                                                  col. 1: 51-54
                                                                  col. 2: 47-55
                                                                  col. 3: 25-35
                                                                  col. 4: 28-33
                                                                  claim 6
                                                                  claim 8
                                                                  ’738 Prosecution History, Office
                                                                  Action, p. 3-4 (Feb. 1993)
                                                                  ’738 Prosecution History,
                                                                  Response, p. 5-8 (May 1993)
                                                                  U.S. Patent No. 4,991,217 (Garrett,
                                                                  et al.)
 d) a second bus in
  communication with said
  first time division
  multiplexer chip, and
 e) at least one audio card    audio processor                    A processor that processes audio      Device that receives from the


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                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,274,738      NICE’S           WITNESS’      NICE’S PROPOSED                    WITNESS’ PROPOSED
                               DISPUTED         DISPUTED      CONSTRUCTION                       CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
   including a second time                                    signals.                           interface a digitized, impedance
   division multiplexer chip                                                                     balanced, optimized signal.
   that communicates with
                                                              Intrinsic evidence:
   said second bus, an audio
                                                              Figs. 1, 2                         Intrinsic evidence:
   processor in
   communication with said                                    col. 1: 43-51                      ‘738 Patent, Fig. 1, 1:39-52, 2:4-11,
   second time division                                                                          3:3-25, 3:60-4:9
                                                              col. 3: 13-35
   multiplexer chip, and a                                                                       (WSNSDE0008620-25).
                                                              col. 3: 57 - col. 4: 17
   second interface in
   communication with said                                    claim 4
   audio processor, said                                      claim 8
   second interface having a                                  ’738 Prosecution History, Office
   plurality of ports that                                    Action, p. 3-4 (Feb. 1993)
   provide communication                                      ’738 Prosecution History,
   with communication lines.                                  Response, p. 5-8 (May 1993)
                                                              Texas Instrument Product
                                                              Specification for TMS320CIX
                                                              Digital Signal Processors




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                                                  AMENDED JOINT CLAIM CONSTRUCTION



U.S. PATENT NO. 5,396,371         NICE’S          WITNESS’           NICE’S PROPOSED                     WITNESS’ PROPOSED
                                  DISPUTED        DISPUTED           CONSTRUCTION                        CONSTRUCTION
                                  CLAIM TERMS     CLAIM TERMS
1. In a method of storing and
retrieving audio from a digital
audio logger, the steps
comprising:
 monitoring an audio source,
 storing audio data from the                      buffer             Memory used for temporary storage   Device in communication with the
   audio source in a buffer,                                         of data.                            digital audio tape and the random
                                                                                                         access storage device that
                                                                                                         temporarily stores data.
                                                                     Intrinsic evidence:
                                                                     Abstract
                                                                                                         Intrinsic evidence:
                                                                     col. 2: 42
                                                                                                         ‘371 Patent, 1:47-54, 2:40-54, 3:63-
                                                                     col. 2: 45-47
                                                                                                         68, Figure 1, Abstract
                                                                     col. 3: 63-65                       (WSNSDE0008692-99).

                                                                                                         ‘371 Prosecution History,
                                                                                                         Amendment pg. 2, dated June 23,
                                                                                                         1994 (WSNSDE0008667-70).
 writing the audio data from      digital audio   digital audio      Tape used to store digital data.    Magnetic tape designed for storage
  the buffer onto a digital       tape            tape                                                   of audio in digital form.
  audio tape and a random
                                                                     Intrinsic evidence:
  access storage device, and
                                                                     Abstract                            Intrinsic evidence:
                                                                                                         ‘371 Patent, 1:50-53, 2:47-48,
                                                                                                         Figure 1 (WSNSDE0008692-99).
                                                  writing the        NICE has provided constructions     Transferring audio data from the
                                                  audio data from    for “buffer” and “digital audio     buffer directly to both a digital
                                                  the buffer onto    tape.” The remaining words have a   audio tape and a random access



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                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,396,371        NICE’S         WITNESS’             NICE’S PROPOSED                       WITNESS’ PROPOSED
                                 DISPUTED       DISPUTED             CONSTRUCTION                          CONSTRUCTION
                                 CLAIM TERMS    CLAIM TERMS
                                                a digital audio      plain meaning that is clear and do    storage device simultaneously.
                                                tape and a           not require further construction.
                                                random access        NICE notes that Witness has
                                                                                                           Intrinsic evidence:
                                                storage device       withdrawn “random access storage
                                                                     device” as a claim term in need of    ‘371 Patent, 1:50-53; 3:65-68,
                                                                     construction.                         Abstract, Figure 1
                                                                                                           (WSNSDE0008692-99),

                                                                     Intrinsic evidence:
                                                                                                           ‘371 Prosecution History,
                                                                     See citations to intrinsic evidence
                                                                                                           Amendment pg. 2, dated June 23,
                                                                     for “buffer” and “digital audio
                                                                                                           1994 (WSNSDE0008667-70).
                                                                     tape.”

                                                                                                           ‘371 Prosecution History, Notice of
                                                                                                           Allowability pg. 2, dated September
                                                                                                           19, 1994 (WSNSDE0008672-74)
 retrieving audio from the
   random access storage
   device while audio data is
   written into the digital
   audio tape and the random
   access storage device.
5. In a system for processing
audio having an interface for
receiving audio from an audio
source, a digital signal
processor in communication
with the interface for
compressing the audio signals,
a controller in communication
with the digital signal
processor for receiving audio



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                                                 AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,396,371        NICE’S          WITNESS’           NICE’S PROPOSED                     WITNESS’ PROPOSED
                                 DISPUTED        DISPUTED           CONSTRUCTION                        CONSTRUCTION
                                 CLAIM TERMS     CLAIM TERMS
therefrom and arranging data
in a prescribed order, a
supervisor in communication
with said controller accessing
data from said system, and a
buffer in communication with
the controller for receiving
arranged audio from the
controller, the improvement
comprising:
 a digital audio tape drive      digital audio   digital audio      Tape used to store digital data.    Magnetic tape designed for storage
   unit in communication with    tape            tape                                                   of audio in digital form.
   the buffer for receiving
                                                                    Intrinsic evidence:
   arranged audio data from
                                                                    Abstract                            Intrinsic evidence:
   the buffer,
                                                                                                        ‘371 Patent, 1:50-53, 2:47-48,
                                                                                                        Figure 1 (WSNSDE0008692-99).

                                                                                                        ‘371 Prosecution History,
                                                                                                        Amendment pg. 2, dated June 23,
                                                                                                        1994 (WSNSDE0008667-70).
                                                 buffer             Memory used for temporary storage   Device in communication with the
                                                                    of data.                            digital audio tape and the random
                                                                                                        access storage device that
                                                                                                        temporarily stores data.
                                                                    Intrinsic evidence:
                                                                    Abstract
                                                                                                        Intrinsic evidence:
                                                                    col. 2: 42
                                                                                                        ‘371 Patent, 1:47-54, 2:40-54, 3:63-
                                                                    col. 2: 45-47
                                                                                                        68, Figure 1, Abstract
                                                                    col. 3: 63-65                       (WSNSDE0008692-99).




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                                                     AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,396,371         NICE’S             WITNESS’         NICE’S PROPOSED                    WITNESS’ PROPOSED
                                  DISPUTED           DISPUTED         CONSTRUCTION                       CONSTRUCTION
                                  CLAIM TERMS        CLAIM TERMS
                                                                                                         ‘371 Prosecution History,
                                                                                                         Amendment pg. 2, dated June 23,
                                                                                                         1994 (WSNSDE0008667-70).
 a random access storage
   device, and
 a pair of pointers providing     pair of pointers                    Digital information used to read   Two pointers facilitating the
   communication between                                              data from and write data to a      simultaneous retrieval of data from
   said buffer and random                                             storage component.                 the random access storage device
   storage device, the first of                                                                          and the writing of data thereto.
   said pointers operative for
                                                                      Intrinsic evidence:
   transmitting audio data to
                                                                      Fig. 1                             Intrinsic evidence:
   said random access
   storage device from said                                           col. 1: 55-68                      ‘371 Patent, Abstract, 1:55-67, 3:2-
   buffer and the second of                                                                              6, 4:20, 4:35-38
                                                                      col. 2: 48-54
   said pointers being                                                                                   (WSNSDE0008692-99);
                                                                      col. 4: 1-20
   operative to send audio
   data from said random                                                                                 ‘371 Prosecution History,
   access storage device to                                                                              Amendment pg. 3, dated June 23,
   said controller.                                                                                      1994 (WSNSDE0008667-70).

                                                                                                         ‘371 Prosecution History, Notice of
                                                                                                         Allowability pg. 2, dated September
                                                                                                         19, 1994 (WSNSDE0008672-74).




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                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,396,371      NICE’S           WITNESS’               NICE’S PROPOSED                         WITNESS’ PROPOSED
                               DISPUTED         DISPUTED               CONSTRUCTION                            CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                the first of said      The first pointer is used to transmit   The first pointer transmits audio
                                                pointers               audio data from the buffer to the       data to the random access storage
                                                operative for          random access storage device and        device at the same time the second
                                                transmitting           the second pointer is used to send      pointer retrieves the audio data
                                                audio data to          audio data from the random access       from the random access storage
                                                said random            storage device under the control of     device and sends it to the controller.
                                                access storage         the controller.
                                                device from            Intrinsic evidence:                     Intrinsic evidence:
                                                said buffer and
                                                                       col. 1: 55-68                           ‘371 Patent, 1:55-68; 3:65-4:18;
                                                the second of
                                                said pointers          col. 2: 48-54                           4:33-39, Abstract
                                                being operative        col. 4: 1-20                            (WSNSDE050728-30).
                                                to send audio
                                                data from said
                                                random access
                                                storage device
                                                to said
                                                controller
8. An audio data storage
device, comprising:




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                                                     AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,396,371         NICE’S             WITNESS’      NICE’S PROPOSED                    WITNESS’ PROPOSED
                                  DISPUTED           DISPUTED      CONSTRUCTION                       CONSTRUCTION
                                  CLAIM TERMS        CLAIM TERMS
 a random access storage          pair of pointers                 Digital information used to read   Two pointers facilitating the
   device having a primary                                         data from and write data to a      simultaneous retrieval of data from
   partition for storing audio                                     storage component.                 the random access storage device
   data and a secondary                                                                               and the writing of data thereto.
   partition for storing means
                                                                   Intrinsic evidence:
   for locating data on said
                                                                   Fig. 1                             Intrinsic evidence:
   primary partition and a pair
   of pointers in                                                  col. 1: 55-68                      ‘371 Patent, Abstract, 1:55-67, 3:2-
   communication with said                                                                            6, 4:20, 4:35-38
                                                                   col. 2: 48-54
   random access memory, a                                                                            (WSNSDE0008692-99).
                                                                   col. 4: 1-20
   first of said pointers being
   operated to transmit data to                                                                       ‘371 Prosecution History,
   said random access storage                                                                         Amendment pg. 3, dated June 23,
   device and the second of                                                                           2004 (WSNSDE0008667-70).
   said pointers being
   operative to retrieve audio
   data from said random                                                                              ‘371 Prosecution History, Notice of
   access storage device.                                                                             Allowability pg. 2, dated September
                                                                                                      19, 1994 (WSNSDE0008672-74).




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                                                 AMENDED JOINT CLAIM CONSTRUCTION



U.S. PATENT NO. 5,819,005          NICE’S        WITNESS’          NICE’S PROPOSED                     WITNESS’ PROPOSED
                                   DISPUTED      DISPUTED          CONSTRUCTION                        CONSTRUCTION
                                   CLAIM TERMS   CLAIM TERMS
1. A modular digital recording
logger, comprising:
 a housing;
 at least two circuit modules                    circuit modules   A packaged assembly of electronic   Means for converting analog voice
   in said housing for                           . . . for         components that converts analog     signals to digital voice signals.
   converting analog voice                       converting        voice signals to digital voice
   signals to digital voice                                        signals.
                                                                                                       Intrinsic evidence:
   signals, each of said circuit
   modules including at least                                                                          ‘005 Patent, Fig. 1, 1:40-44, 2:7-18,
                                                                   Intrinsic evidence:                 2:55-67, 3:1-6, 3:12-15, 4:54-56
   two terminals for receiving
   said analog voice signals,                                      Figs. 1, 2                          (WSNSDE0008925-32).
   each of said terminals being                                    col. 1: 24-28
   capable of receiving said                                       col. 2: 7-18
   analog voice signals for                                        col. 2: 55-67
   recording a two-way
   conversation;                                                   col. 3: 1-18
                                                                   col. 4: 13-32
                                                                   col. 4: 36-41
                                                                   ’005 Prosecution History, Appeal
                                                                   Brief, p. 3, 6 (Apr. 1995)
                                                                   ’005 Prosecution History, Exam
                                                                   Answer, pp. 4-9 (Jun. 1995)
                                                                   ’005 Prosecution History, Office
                                                                   Action, p. 6 (Nov. 1995)
                                                                   ’005 Prosecution History,
                                                                   Preliminary Amendment, pp. 7-12
                                                                   (Mar. 1996)
                                                                   ’005 Prosecution History, Office
                                                                   Action, pp. 2-5 (Aug. 1996)


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                                                 AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,819,005         NICE’S         WITNESS’              NICE’S PROPOSED                      WITNESS’ PROPOSED
                                  DISPUTED       DISPUTED              CONSTRUCTION                         CONSTRUCTION
                                  CLAIM TERMS    CLAIM TERMS
                                  analog voice                         An electrical wave used to convey    Plain language.
                                  signals                              voice information.

                                                                       Intrinsic evidence:
                                                                       Figs.1, 2
                                                                       col. 1: 39-44
                                                                       col. 2: 46-55
                                                                       ’005 Prosecution History, Appeal
                                                                       Brief, p. 6 (Apr. 1995)
                                                                       ’005 Prosecution History,
                                                                       Preliminary Amendment, pp. 16-17
                                                                       (Mar. 1996)
 a circuit in said housing for                   a circuit . . . for   An assembly of electronic            Means for compressing that is
   compressing said digital                      compressing           components that compresses digital   separate from the means for
   voice signals received from                                         voice signals.                       converting analog voice signals to
   each of said circuit modules                                                                             digital voice signals and contained
   to provide compressed                                                                                    within the same housing.
                                                                       Intrinsic evidence:
   voice data;
                                                                       Figs. 1, 2
                                                                                                            Intrinsic evidence:
                                                                       col. 1: 48-50
                                                                                                            ‘005 Patent, Fig. 1, 1:45-52, 2:15-
                                                                       col. 2: 14-25
                                                                                                            19, 2:23-25, 3:15-22, 3:25-30, 4:30-
                                                                       col. 3: 25-30                        32, 4:54-56 (WSNSDE0008925-
                                                                       col. 4: 6-9                          32).
                                                                       col. 4: 36-41
                                                                       col. 4: 61-67                        ‘005 Prosecution History, Appellant
                                                                       claim 8                              Brief pg. 6, dated March 21, 1995
                                                                       claim 18                             (WSNSDE0008764-72).
                                                                       ’005 Prosecution History,



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                                                 AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,819,005          NICE’S        WITNESS’      NICE’S PROPOSED                    WITNESS’ PROPOSED
                                   DISPUTED      DISPUTED      CONSTRUCTION                       CONSTRUCTION
                                   CLAIM TERMS   CLAIM TERMS
                                                               Response, p. 4 (Aug. 1994)
                                                               ’005 Prosecution History,
                                                               Amendment, p. 4 (Jan. 1995)
                                                               ’005 Prosecution History, Appeal
                                                               Brief, p. 6 (Apr. 1995)
                                                               ’005 Prosecution History, Exam
                                                               Answer, pp. 4-9 (Jun. 1995)
                                                               ’005 Prosecution History, Reply
                                                               Brief, pp. 2-6 (Aug. 1995)
                                                               ’005 Prosecution History, Office
                                                               Action, p. 5 (Nov. 1995)
                                                               ’005 Prosecution History,
                                                               Preliminary Amendment, pp. 7-12
                                                               (Mar. 1996)
                                                               ’005 Prosecution History, Office
                                                               Action, pp. 2-5 (Aug. 1996)
 a first bus in said housing for
   providing communication
   between said circuit module
   and said compressing
   circuit;
 a multiplexer circuit in said
   housing for providing
   communication between
   said compressing circuit
   and said first bus, wherein
   said multiplexer circuit
   multiplexes voice signals
   exchanged between said
   compressing circuit and



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                                                  AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,819,005         NICE’S          WITNESS’              NICE’S PROPOSED                       WITNESS’ PROPOSED
                                  DISPUTED        DISPUTED              CONSTRUCTION                          CONSTRUCTION
                                  CLAIM TERMS     CLAIM TERMS
   said circuit modules on said
   first bus; and
 a digital audio tape (DAT)       digital audio                         Tape used to store digital data.      Magnetic tape designed for storage
   drive for storing said         tape                                                                        of audio in digital form.
   compressed voice data.
                                                                        Intrinsic evidence:
                                                                        Figs. 1, 2                            Intrinsic evidence:
                                                                        col. 1: 54-57                         ‘005 Patent, 2:36-45, 3:34-59, 3:65-
                                                                                                              4:5 (WSNSDE0008925-32).
                                                                        col. 2: 35-45
                                                                        col. 3: 30 - col. 4: 5
                                                                        ’005 Prosecution History, Office
                                                                        Action, p. 3 (May 1994)
                                                                        ’005 Prosecution History,
                                                                        Amendment, pp. 3-4 (Jan. 1995)
                                                                        ’005 Prosecution History, Appeal
                                                                        Brief, pp. 3-6 (Apr. 1995)
                                                                        ’005 Prosecution History, Exam
                                                                        Answer, pp. 4-9 (Jun. 1995)
11. A network system of
modular digital recording
loggers, comprising:
 at least two digital recording
   loggers for logging voice
   conversations, each of said
   recording loggers
   comprising:
 a housing;
 a circuit in said housing for                    a circuit . . . for   An assembly of electronic             Means for converting analog voice
   converting analog voice                        converting            components that converts (i) analog   signals to digital voice signals and


                                                                    Page 14 of 77
                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 16 of 79 PageID #: 1685
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                 AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,819,005         NICE’S         WITNESS’      NICE’S PROPOSED                          WITNESS’ PROPOSED
                                  DISPUTED       DISPUTED      CONSTRUCTION                             CONSTRUCTION
                                  CLAIM TERMS    CLAIM TERMS
   signals to and from digital                                 voice signals to digital voice signals   contained within the same housing.
   voice signals, said circuit                                 and (ii) digital voice signals to
   modules including at least                                  analog voice signals.
                                                                                                        Intrinsic evidence:
   two terminals for receiving
   said analog voice signals,                                                                           ‘005 Patent, Fig. 1, 1:40-44, 2:7-18,
                                                               Intrinsic evidence:                      2:55-67, 3:1-6, 3:12-15, 4:54-56
   and wherein each of said
   terminals is capable of                                     Figs. 1, 2                               (WSNSDE0008925-32).
   receiving said analog voice                                 col. 1: 24-28
   signals for recording a two-                                col. 2: 7-18
   way conversation,                                           col. 2: 55-67
                                                               col. 3: 1-18
                                                               col. 4: 13-32
                                                               ’005 Prosecution History, Appeal
                                                               Brief, p. 6 (Apr. 1995)
                                                               ’005 Prosecution History, Exam
                                                               Answer, pp. 4-9 (Jun. 1995)
                                                               ’005 Prosecution History, Office
                                                               Action, p. 5 (Nov. 1995)
                                                               ’005 Prosecution History,
                                                               Preliminary Amendment, pp. 7-12
                                                               (Mar. 1996)
                                                               ’005 Prosecution History, Office
                                                               Action, pp. 2-5 (Aug. 1996)
                                  analog voice                 An electrical wave used to convey        Plain language.
                                  signals                      voice information.

                                                               Intrinsic evidence:
                                                               Figs.1, 2
                                                               col. 1: 39-44



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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 17 of 79 PageID #: 1686
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                   AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,819,005          NICE’S          WITNESS’      NICE’S PROPOSED                    WITNESS’ PROPOSED
                                   DISPUTED        DISPUTED      CONSTRUCTION                       CONSTRUCTION
                                   CLAIM TERMS     CLAIM TERMS
                                                                 col. 2: 46-55
                                                                 ’005 Prosecution History, Appeal
                                                                 Brief, p. 6 (Apr. 1995)
                                                                 ’005 Prosecution History,
                                                                 Preliminary Amendment, pp. 16-17
                                                                 (Mar. 1996)
 a circuit in said housing for
   compressing said digital
   voice signals received from
   each of said circuit modules
   to provide compressed
   voice data,
 a first bus in said housing for
   providing communication
   between said circuit module
   and said compressing
   circuit,
 a multiplexer circuit in said
   housing for providing
   communication between
   said compressing circuit
   and said first bus, wherein
   said multiplexer circuit
   multiplexes voice signals
   exchanged between said
   compressing circuit and
   said circuit modules on said
   first bus,
 a digital audio tape (DAT)        digital audio                 Tape used to store digital data.   Magnetic tape designed for storage
   drive for storing said          tape                                                             of audio in digital form.



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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 18 of 79 PageID #: 1687
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,819,005         NICE’S        WITNESS’      NICE’S PROPOSED                    WITNESS’ PROPOSED
                                  DISPUTED      DISPUTED      CONSTRUCTION                       CONSTRUCTION
                                  CLAIM TERMS   CLAIM TERMS
   compressed voice data,                                     Intrinsic evidence:
                                                              Figs. 1, 2                         Intrinsic evidence:
                                                              col. 1: 54-57                      ‘005 Patent, 2:36-45, 3:34-59, 3:65-
                                                              col. 2: 35-45                      4:5 (WSNSDE0008925-32).
                                                              col. 3: 30 - col. 4: 5
                                                              ’005 Prosecution History, Office
                                                              Action, p. 3 (May 1994)
                                                              ’005 Prosecution History,
                                                              Amendment, pp. 3-4 (Jan. 1995)
                                                              ’005 Prosecution History, Appeal
                                                              Brief, pp. 3-6 (Apr. 1995)
                                                              ’005 Prosecution History, Exam
                                                              Answer, pp. 4-9 (Jun. 1995)
 a hard disk drive in said
   housing for storing and
   reproducing said
   compressed voice data,
 a first computer in said
   housing for operating said
   DAT drive and/or said hard
   disk drive to store and
   reproduce said digital voice
   signals, and
 a second bus in said housing
   for connecting said
   computer to said hard disk
   drive and said DAT drive;
 a second computer for
   processing compressed


                                                           Page 17 of 77
                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 19 of 79 PageID #: 1688
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 5,819,005         NICE’S        WITNESS’      NICE’S PROPOSED       WITNESS’ PROPOSED
                                  DISPUTED      DISPUTED      CONSTRUCTION          CONSTRUCTION
                                  CLAIM TERMS   CLAIM TERMS
   digital voice signals
   received from each of said
   recording loggers; and
 a third bus connecting each
   of said recording loggers to
   said second computer.




                                                           Page 18 of 77
                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 20 of 79 PageID #: 1689
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                  AMENDED JOINT CLAIM CONSTRUCTION


US PATENT NO. 6,249,570          NICE’S           WITNESS’            NICE’S PROPOSED                       WITNESS’ PROPOSED
                                 DISPUTED         DISPUTED            CONSTRUCTION                          CONSTRUCTION
                                 CLAIM TERMS      CLAIM TERMS
6. A method for recording
information regarding
telephone calls comprising one
or more segments, comprising:
 (a) receiving audio data        telephone call   telephone call      Pieces of an entire telephone call.   Portion of a phone call that is
   regarding one or more         segments         segment                                                   bounded by telephony events.
   telephone call segments
                                                                      Intrinsic evidence:
   relating to one or more
                                                                      Abstract                              Intrinsic evidence:
   telephone calls, and data
   regarding telephony events                                         Fig. 15                               ‘570 Patent, 58:11-16
   associated with said                                                                                     (WSNSDE0009192-254).
                                                                      col. 2: 52 - col. 3: 23
   telephone call segments;                                           col. 4: 46 - col. 5: 8
                                                                                                            ‘370 Prosecution History, Second
                                                                      col. 5: 66 - col. 6: 16
                                                                                                            Preliminary Amendment, pg. 6,
                                                                      col. 7: 1-28                          dated August 15, 2001
                                                                      col. 8: 1-16                          (WSNSDE0010051-56).
                                                                      col. 20: 34-52
                                                                      col. 21: 31-44
                                                                      col. 26: 17-38
                                                                      col. 28: 25 - col. 29: 5
                                                                      col. 29: 37-64
                                                                      col. 32: 21-37
                                                                      col. 47: 50 - col. 50: 12
                                                                      col. 55: 47-57
                                                                      col. 57: 17 - col. 61: 10
                                                                      col. 62: 2 - col. 64: 34




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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 21 of 79 PageID #: 1690
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570        NICE’S           WITNESS’            NICE’S PROPOSED                         WITNESS’ PROPOSED
                               DISPUTED         DISPUTED            CONSTRUCTION                            CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                telephone call      “Telephone calls” has a plain           Entire conversation with an entity
                                                                    meaning that is clear and does not      from a caller’s perspective,
                                                                    require further construction.           including transfers and conferences.

                                                                                                            Intrinsic evidence:
                                                                                                            ‘570 Patent, col. 8, ll. 5-11
                                                                                                            (WSNSDE0009192-254).
                               telephony        telephony event     Actions or occurrences (e.g., called    Actions or occurrences detected by
                               events                               party and calling party numbers,        a computer program and that are
                                                                    trunk and channel ID, date and time     related to what happens to a phone
                                                                    or agent ID), which are related to      call (such as the initiation of the
                                                                    telephone calls, that are detected by   call, the addition or removal of
                                                                    a computer program.                     callers, the transfer of the phone
                                                                                                            call, or the termination of the call),
                                                                                                            and are not identifying numbers.
                                                                    Intrinsic evidence:
                                                                                                            Agent-entered information is not
                                                                    Abstract                                data regarding telephone events.
                                                                    Fig. 4
                                                                    Fig. 6                                  Intrinsic evidence:
                                                                    Fig. 7                                  ‘570 Patent, 7:11-13;
                                                                    Fig. 9                                  (WSNSDE0009192-254).
                                                                    col. 1: 34-54
                                                                    col. 2: 9-24                            ‘345 Prosecution History, Second
                                                                    col. 3: 16-23                           Preliminary Amendment, pg. 9,
                                                                    col. 6: 35-54                           dated July 23, 2001
                                                                                                            (WSNSDE0009486-98).
                                                                    col. 7: 1-59
                                                                    col. 8: 1-34
                                                                                                            ‘706 Prosecution History, Second
                                                                    col. 8: 35-47                           Preliminary Amendment, pg. 7-9,
                                                                    col. 10: 10-30                          dated July 13, 2001


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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 22 of 79 PageID #: 1691
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                   AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570           NICE’S           WITNESS’      NICE’S PROPOSED                   WITNESS’ PROPOSED
                                  DISPUTED         DISPUTED      CONSTRUCTION                      CONSTRUCTION
                                  CLAIM TERMS      CLAIM TERMS
                                                                 col. 14: 60 - col. 25: 47         (WSNSDE050988-97).
                                                                 col. 26: 55-64
                                                                 col. 27: 6-64                     ‘370 Prosecution History, Second
                                                                 col. 30: 16-23                    Preliminary Amendment, pg. 4,
                                                                                                   dated August 15, 2001
                                                                 col. 31: 10 - col. 32: 67
                                                                                                   (WSNSDE0010051-56).
                                                                 col. 62: 2 - col. 64: 34
 (b) storing the received audio
   data regarding telephone
   call segments;
 (c) storing the received data
   regarding telephony events
   associated with said
   telephone call segments;
 (d) identifying telephone call
   segments that relate to one
   telephone call; and
 (e) constructing a data          data                           Digital representation of data.   Data structure that represents an
   representation of a lifetime   representation                                                   object as a single identifiable entity.
   of the telephone call using
                                                                 Intrinsic evidence:
   data regarding telephony
                                                                 Abstract                          Intrinsic evidence:
   events associated with the
   telephone call segments of                                    Fig. 10                           ‘570 Patent, col. 18, ll. 26-35;
   the telephone call, wherein                                                                     28:40-51. (WSNSDE0009192-254).
                                                                 Fig. 16
   said data representation                                      Fig. 16b
   comprises, for each
   segment of the call, the                                      Fig. 18
   location of the stored audio                                  col. 2: 52-3: 23
   data of that segment and the                                  col. 3: 16-23
   start time, end time, and                                     col. 5: 14 - col. 6: 16



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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 23 of 79 PageID #: 1692
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570        NICE’S           WITNESS’           NICE’S PROPOSED                        WITNESS’ PROPOSED
                               DISPUTED         DISPUTED           CONSTRUCTION                           CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
   duration of that segment.                                       col. 6: 29-67
                                                                   col. 7: 1-28
                                                                   col. 8: 34-65
                                                                   col. 14: 12-37
                                                                   col. 20: 53 - col. 22: 8
                                                                   col. 24: 35-46
                                                                   col. 25: 48 - col. 26: 8
                                                                   col. 29: 6-15
                                                                   col. 29: 37 - col. 30: 8
                                                                   col. 31: 11 - col. 55: 57
                                                                   col. 62: 2 - col. 64: 34
                                                data               Data (e.g., voice information and/or   Call-centric data record of the
                                                representation     metadata) representing an entire       telephone call that includes a
                                                of a lifetime of   telephone call.                        detailed cumulative start-to-finish
                                                the telephone                                             history of a telephone call,
                                                call                                                      including all telephony events and
                                                                   Intrinsic evidence:
                                                                                                          participants. The data
                                                                   Abstract                               representation represents only the
                                                                   Fig. 10                                telephone call, is not event-centric,
                                                                   Fig. 16                                and is not constructed on a 1-to-1
                                                                   Fig. 16b                               basis for the events during the total
                                                                                                          lifetime of a call.
                                                                   Fig. 18
                                                                   col. 2: 52 - col. 3: 23
                                                                                                          Intrinsic evidence:
                                                                   col. 3: 16-23
                                                                                                          ‘570 Patent, 5:20-23; 6:10-11; 7:11-
                                                                   col. 5: 14 - col. 6: 16                28; 8:1-16; 8:35-47; 20:34-60;
                                                                   col. 6: 29-67                          21:31-35; 21:59-22:1; 28:40-29:15;
                                                                   col. 7: 1-28                           30:19-23; 33:17-20; 36:23-27;
                                                                   col. 8: 34-65                          36:47 – 38:65; 42:21-25; 54:18-26;



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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 24 of 79 PageID #: 1693
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570          NICE’S         WITNESS’           NICE’S PROPOSED                       WITNESS’ PROPOSED
                                 DISPUTED       DISPUTED           CONSTRUCTION                          CONSTRUCTION
                                 CLAIM TERMS    CLAIM TERMS
                                                                   col. 14: 12-37                        Figs. 16, 16B; 7:13-16; 20:34-60;
                                                                   col. 20: 53 - col. 22: 8              25:52-55; 26:16-20; 27:18-24;
                                                                                                         28:45-48; 30:19-23.
                                                                   col. 24: 35-46
                                                                                                         (WSNSDE0009192 -254).
                                                                   col. 25: 48 - col. 26: 8
                                                                   col. 29: 6-15
                                                                   col. 29: 37 - col. 30: 8
                                                                   col. 31: 11 - col. 55: 57
                                                                   col. 62: 2 - col. 64: 34
                                                constructing a     NICE has provided constructions       Using data regarding telephony
                                                data               for “data representation of a         events to associate telephone call
                                                representation     lifetime of the telephone call,”      segments of a telephone call to
                                                of a lifetime of   “telephony events,” “telephone call   form a data representation of the
                                                the telephone      segments” and “telephone call.”       lifetime of the telephone call, and
                                                call using data    The remaining words have a plain      not using an identifier or key to
                                                regarding          meaning that is clear and do not      form the data representation.
                                                telephony          require further construction.
                                                events
                                                                                                         Intrinsic evidence:
                                                associated with
                                                                   Intrinsic evidence:                   ‘570 patent, 20:15-32; 26:55 – 27:6;
                                                the telephone
                                                call segments      See citations to intrinsic evidence   27:29-64; 31:39 – 32:50.
                                                of the             for “data representation of a         (WSNSDE0009192 -254).
                                                telephone call     lifetime of the telephone call,”
                                                                   “telephony events,” “telephone call
                                                                                                         ‘345 Prosecution History, Second
                                                                   segments” and “telephone call.”
                                                                                                         Preliminary Amendment, pg. 9-10,
                                                                                                         dated July 23, 2001
                                                                                                         (WSNSDE0009486-98).
7. A method for recording
information regarding
telephone calls comprising one
or more segments, comprising:


                                                               Page 23 of 77
                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 25 of 79 PageID #: 1694
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                    AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570            NICE’S           WITNESS’            NICE’S PROPOSED                       WITNESS’ PROPOSED
                                   DISPUTED         DISPUTED            CONSTRUCTION                          CONSTRUCTION
                                   CLAIM TERMS      CLAIM TERMS
 (a) receiving audio data          telephone call   telephone call      Pieces of an entire telephone call.   Portion of a phone call that is
   regarding one or more           segments         segment                                                   bounded by telephony events.
   telephone call segments
                                                                        Intrinsic evidence:
   relating to one or more
                                                                        Abstract                              Intrinsic evidence:
   telephone calls, and data
   regarding telephony events                                           Fig. 15                               ‘570 Patent, 58:11-16;
   associated with said                                                                                       (WSNSDE0009192-254).
                                                                        col. 2: 52 - col. 3: 23
   telephone call segments,                                             col. 4: 46 - col. 5: 8
   wherein the data regarding                                                                                 ‘370 Prosecution History, Second
   telephony events is                                                  col. 5: 66 - col. 6: 16
                                                                                                              Preliminary Amendment, pg. 6,
   received from a plurality of                                         col. 7: 1-28                          dated August 15, 2001
   sources connected to a                                               col. 8: 1-16                          (WSNSDE0010051-56).
   telephone switching                                                  col. 20: 34-52
   environment, wherein at
   least one of the sources is a                                        col. 21: 31-44
   real-time link and at least                                          col. 26: 17-38
   one of the sources is not a                                          col. 28: 25 - col. 29: 5
   real-time link;                                                      col. 29: 37-64
                                                                        col. 32: 21-37
                                                                        col. 47: 50 - col. 50: 12
                                                                        col. 55: 47-57
                                                                        col. 57: 17 - col. 61: 10
                                                                        col. 62: 2 - col. 64: 34
                                                    telephone call      “Telephone calls” has a plain         Entire conversation with an entity
                                                                        meaning that is clear and does not    from a caller’s perspective,
                                                                        require further construction.         including transfers and conferences.

                                                                                                              Intrinsic evidence:
                                                                                                              ’570 Patent, col. 8, ll. 5-11.
                                                                                                              (WSNSDE0009192-254).


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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 26 of 79 PageID #: 1695
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570        NICE’S           WITNESS’          NICE’S PROPOSED                         WITNESS’ PROPOSED
                               DISPUTED         DISPUTED          CONSTRUCTION                            CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS

                                                                                                          ‘370 Prosecution History, Second
                                                                                                          Preliminary Amendment, pg. 6,
                                                                                                          dated August 15, 2001
                                                                                                          (WSNSDE0010051-56).
                               telephony        telephony event   Actions or occurrences (e.g., called    Actions or occurrences detected by
                               events                             party and calling party numbers,        a computer program and that are
                                                                  trunk and channel ID, date and time     related to what happens to a phone
                                                                  or agent ID), which are related to      call (such as the initiation of the
                                                                  telephone calls, that are detected by   call, the addition or removal of
                                                                  a computer program.                     callers, the transfer of the phone
                                                                                                          call, or the termination of the call),
                                                                                                          and are not identifying numbers.
                                                                  Intrinsic evidence:
                                                                                                          Agent-entered information is not
                                                                  Abstract                                data regarding telephone events.
                                                                  Fig. 4
                                                                  Fig. 6                                  Intrinsic evidence:
                                                                  Fig. 7                                  ‘570 Patent, 7:11-13;
                                                                  Fig. 9                                  (WSNSDE0009192-254).
                                                                  col. 1: 34-54
                                                                  col. 2: 9-24                            ‘345 Prosecution History, Second
                                                                  col. 3: 16-23                           Preliminary Amendment, pg. 9,
                                                                  col. 6: 35-54                           dated July 23, 2001
                                                                                                          (WSNSDE0009486-98).
                                                                  col. 7: 1-59
                                                                  col. 8: 1-34
                                                                                                          ‘706 Prosecution History, Second
                                                                  col. 8: 35-47                           Preliminary Amendment, pg. 7-9,
                                                                  col. 10: 10-30                          dated July 13, 2001
                                                                  col. 14: 60 - col. 25: 47               (WSNSDE050988-97).
                                                                  col. 26: 55-64



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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 27 of 79 PageID #: 1696
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570        NICE’S           WITNESS’      NICE’S PROPOSED                 WITNESS’ PROPOSED
                               DISPUTED         DISPUTED      CONSTRUCTION                    CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                              col. 27: 6-64                   ‘370 Prosecution History, Second
                                                              col. 30: 16-23                  Preliminary Amendment, pg. 4,
                                                                                              dated August 15, 2001
                                                              col. 31: 10 - col. 32: 67
                                                                                              (WSNSDE0010051-56).
                                                              col. 62: 2 - col. 64: 34
                               real-time link                 A connection supplying CTI      Data link that provides data
                                                              information without perceived   defining events during the call and
                                                              delay during the call.          with occurrence of the events.

                                                              Intrinsic evidence:             Intrinsic evidence:
                                                              Abstract                        ‘570 Patent, 5:48-65; 6:35-54;
                                                              col. 2: 9-3: 11                 55:35-46. (WSNSDE0009192-254).
                                                              col. 3: 16-23
                                                              col. 5: 48-64
                                                              col. 6: 35-54
                                                              col. 8: 35 - col. 9: 27
                                                              col. 11: 11 - col. 12: 16
                                                              col. 20: 15 - col. 21: 4
                                                              col. 24: 35-46
                                                              col. 26: 29-54
                                                              col. 32: 57-67
                                                              col. 33: 18-32
                                                              col. 43: 10-22
                                                              col. 47: 50-67
                                                              col. 50: 30-43
                                                              col. 55: 34-57
                                                              col. 62: 2 - col. 64: 34




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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 28 of 79 PageID #: 1697
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                   AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570           NICE’S           WITNESS’      NICE’S PROPOSED                   WITNESS’ PROPOSED
                                  DISPUTED         DISPUTED      CONSTRUCTION                      CONSTRUCTION
                                  CLAIM TERMS      CLAIM TERMS
 (b) storing the received audio
   data regarding telephone
   call segments;
 (c) storing the received data
   regarding telephony events
   associated with said
   telephone call segments;
 (d) identifying telephone call
   segments that relate to one
   telephone call; and
 (e) constructing a data          data                           Digital representation of data.   Data structure that represents an
   representation of a lifetime   representation                                                   object as a single identifiable entity.
   of the telephone call using
                                                                 Intrinsic evidence:
   data regarding telephony
                                                                 Abstract                          Intrinsic evidence:
   events associated with the
   telephone call segments of                                    Fig. 10                           ‘570 Patent, col. 18, ll. 26-35;
   the telephone call.                                                                             28:40-51. (WSNSDE0009192-254).
                                                                 Fig. 16
                                                                 Fig. 16b
                                                                 Fig. 18
                                                                 col. 2: 52-3: 23
                                                                 col. 3: 16-23
                                                                 col. 5: 14 - col. 6: 16
                                                                 col. 6: 29-67
                                                                 col. 7: 1-28
                                                                 col. 8: 34-65
                                                                 col. 14: 12-37
                                                                 col. 20: 53 - col. 22: 8
                                                                 col. 24: 35-46



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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 29 of 79 PageID #: 1698
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570        NICE’S           WITNESS’           NICE’S PROPOSED                        WITNESS’ PROPOSED
                               DISPUTED         DISPUTED           CONSTRUCTION                           CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                   col. 25: 48 - col. 26: 8
                                                                   col. 29: 6-15
                                                                   col. 29: 37 - col. 30: 8
                                                                   col. 31: 11 - col. 55: 57
                                                                   col. 62: 2 - col. 64: 34
                                                data               Data (e.g., voice information and/or   Call-centric data record of the
                                                representation     metadata) representing an entire       telephone call that includes a
                                                of a lifetime of   telephone call.                        detailed cumulative start-to-finish
                                                the telephone                                             history of a telephone call,
                                                call                                                      including all telephony events and
                                                                   Intrinsic evidence:
                                                                                                          participants. The data
                                                                   Abstract                               representation represents only the
                                                                   Fig. 10                                telephone call, is not event-centric,
                                                                   Fig. 16                                and is not constructed on a 1-to-1
                                                                   Fig. 16b                               basis for the events during the total
                                                                                                          lifetime of a call.
                                                                   Fig. 18
                                                                   col. 2: 52 - col. 3: 23
                                                                                                          Intrinsic evidence:
                                                                   col. 3: 16-23
                                                                                                          ‘570 Patent, 5:20-23; 6:10-11; 7:11-
                                                                   col. 5: 14 - col. 6: 16                28; 8:1-16; 8:35-47; 20:34-60;
                                                                   col. 6: 29-67                          21:31-35; 21:59-22:1; 28:40-29:15;
                                                                   col. 7: 1-28                           30:19-23; 33:17-20; 36:23-27;
                                                                   col. 8: 34-65                          36:47 – 38:65; 42:21-25; 54:18-26;
                                                                                                          Figs. 16, 16B; 7:13-16; 20:34-60;
                                                                   col. 14: 12-37                         25:52-55; 26:16-20; 27:18-24;
                                                                   col. 20: 53 - col. 22: 8               28:45-48; 30:19-23.
                                                                   col. 24: 35-46                         (WSNSDE0009192-254).
                                                                   col. 25: 48 - col. 26: 8
                                                                   col. 29: 6-15
                                                                   col. 29: 37 - col. 30: 8


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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 30 of 79 PageID #: 1699
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

US PATENT NO. 6,249,570        NICE’S           WITNESS’           NICE’S PROPOSED                       WITNESS’ PROPOSED
                               DISPUTED         DISPUTED           CONSTRUCTION                          CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                   col. 31: 11 - col. 55: 57
                                                                   col. 62: 2 - col. 64: 34
                                                constructing a     NICE has provided constructions       Using data regarding telephony
                                                data               for “data representation of a         events to associate telephone call
                                                representation     lifetime of the telephone call,”      segments of a telephone call to
                                                of a lifetime of   “telephony events,” “telephone call   form a data representation of the
                                                the telephone      segments” and “telephone call.”       lifetime of the telephone call, and
                                                call using data    The remaining words have a plain      not using an identifier or key to
                                                regarding          meaning that is clear and do not      form the data representation.
                                                telephony          require further construction.
                                                events
                                                                                                         Intrinsic evidence:
                                                associated with
                                                                   Intrinsic evidence:                   ‘570 patent, 20:15-32; 26:55 – 27:6;
                                                the telephone
                                                call segments      See citations to intrinsic evidence   27:29-64; 31:39 – 32:50.
                                                of the             for “data representation of a         (WSNSDE0009192-254).
                                                telephone call     lifetime of the telephone call,”
                                                                   “telephony events,” “telephone call
                                                                                                         ‘345 Prosecution History, Second
                                                                   segments” and “telephone call.”
                                                                                                         Preliminary Amendment, pg. 9-10,
                                                                                                         dated July 23, 2001
                                                                                                         (WSNSDE0009486-98).




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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 31 of 79 PageID #: 1700
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                 AMENDED JOINT CLAIM CONSTRUCTION



U.S. PATENT NO. 6,728,345       NICE’S           WITNESS’            NICE’S PROPOSED                       WITNESS’ PROPOSED
                                DISPUTED         DISPUTED            CONSTRUCTION                          CONSTRUCTION
                                CLAIM TERMS      CLAIM TERMS
14. A method for recording
information regarding
telephone calls with three or
more participants and
comprising one or more
participants and comprising
one or more telephone call
segments, comprising:
 (a) receiving audio data       telephone call   telephone call      Pieces of an entire telephone call.   Portion of a phone call that is
   regarding one or more        segments         segment                                                   bounded by telephony events.
   telephone call segments;
                                                                     Intrinsic evidence:
                                                                     Abstract                              Intrinsic evidence:
                                                                     Fig. 15                               ‘570 Patent, 58:11-16;
                                                                                                           (WSNSDE0009192-254).
                                                                     col. 2: 55 - col. 3: 26
                                                                     col. 3: 16-26
                                                                                                           ‘345 Patent, 60:64-61:3.
                                                                     col. 4: 66 - col. 5: 9
                                                                                                           (WSNSDE0009547-611).
                                                                     col. 5: 66 - col. 6: 16
                                                                     col. 7: 1-28
                                                                                                           ‘370 Prosecution History, Second
                                                                     col. 8: 1-16                          Preliminary Amendment, pg. 6,
                                                                     col. 20: 37-55                        dated August 15, 2001
                                                                     col. 21: 34-47                        (WSNSDE0010051-56).
                                                                     col. 26: 11-30
                                                                     col. 28: 18-65
                                                                     col. 29: 29-56
                                                                     col. 32: 15-31
                                                                     col. 49: 56 - col. 52: 66



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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 32 of 79 PageID #: 1701
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345       NICE’S          WITNESS’          NICE’S PROPOSED                         WITNESS’ PROPOSED
                                DISPUTED        DISPUTED          CONSTRUCTION                            CONSTRUCTION
                                CLAIM TERMS     CLAIM TERMS
                                                                  col. 60: 3 - col. 62: 63
                                                                  col. 64: 55 - col. 68: 42
 (b) receiving data regarding   telephony       telephony event   Actions or occurrences (e.g., called    Actions or occurrences detected by
   telephony events             events                            party and calling party numbers,        a computer program and that are
   associated with said                                           trunk and channel ID, date and time     related to what happens to a phone
   telephone call segments;                                       or agent ID), which are related to      call (such as the initiation of the
                                                                  telephone calls, that are detected by   call, the addition or removal of
                                                                  a computer program.                     callers, the transfer of the phone
                                                                                                          call, or the termination of the call),
                                                                                                          and are not identifying numbers.
                                                                  Intrinsic evidence:
                                                                                                          Agent-entered information is not
                                                                  Abstract                                data regarding telephone events.
                                                                  Fig. 4
                                                                  Fig. 6                                  Intrinsic evidence:
                                                                  Fig. 7                                  ‘570 Patent, 7:11-13;
                                                                  Fig. 9                                  (WSNSDE0009192-254).
                                                                  col. 1: 37-57
                                                                  col. 2: 12-27                           ‘345 Patent, 7:11-13.
                                                                  col. 3: 16-26                           (WSNSDE0009547-611).
                                                                  col. 7: 1-59
                                                                  col. 8: 1-34                            ‘345 Prosecution History, Second
                                                                  col. 8: 35-47                           Preliminary Amendment, pg. 9,
                                                                                                          dated July 23, 2001
                                                                  col. 10: 11-34                          (WSNSDE0009486-98).
                                                                  col. 14: 65 - col. 25: 39
                                                                  col. 26: 47-55                          ‘706 Prosecution History, Second
                                                                  col. 26: 66 - col. 27: 56               Preliminary Amendment, pg. 7-9,
                                                                  col. 30: 8-15                           dated July 13, 2001
                                                                  col. 31: 4 - col. 32: 61                (WSNSDE050988-97).




                                                              Page 31 of 77
                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 33 of 79 PageID #: 1702
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                    AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345         NICE’S            WITNESS’            NICE’S PROPOSED                      WITNESS’ PROPOSED
                                  DISPUTED          DISPUTED            CONSTRUCTION                         CONSTRUCTION
                                  CLAIM TERMS       CLAIM TERMS
                                                                        col. 64: 55 - col. 68: 42            ‘370 Prosecution History, Second
                                                                                                             Preliminary Amendment, pg. 4,
                                                                                                             dated August 15, 2001
                                                                                                             (WSNSDE0010051-56).
 (c) storing the received audio
   data regarding telephone
   call segments;
 (d) storing the received data
   regarding telephone events
   associated with said
   telephone call segments;
 (e) identifying telephone call                     telephone call      “Telephone call” has a plain         Entire conversation with an entity
   segments that relate to the                                          meaning that is clear and does not   from a caller’s perspective,
   same telephone call; and                                             require further construction.        including transfers and conferences.

                                                                                                             Intrinsic evidence:
                                                                                                             ‘570 Patent, col. 8, ll. 5-11.
                                                                                                             (WSNSDE0009192-254).

                                                                                                             ‘345 Patent, col. 8,ll 5-11.
                                                                                                             (WSNSDE0009547-611).
 (f) constructing data            data                                  Digital representation of data.      Data structure that represents an
   representations of lifetimes   representations                                                            object as a single identifiable entity.
   of telephone calls, wherein
                                                                        Intrinsic evidence:
   said data representations
                                                                        Abstract                             Intrinsic evidence:
   are constructed using
   data regarding telephony                                             Fig. 10                              ‘570 Patent, col. 18, ll. 26-35;
   events associated with                                                                                    28:40-51. (WSNSDE0009192-254).
                                                                        Fig. 16
   telephone call segments.                                             Fig. 16b



                                                                     Page 32 of 77
                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 34 of 79 PageID #: 1703
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345      NICE’S           WITNESS’          NICE’S PROPOSED                        WITNESS’ PROPOSED
                               DISPUTED         DISPUTED          CONSTRUCTION                           CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                  Fig. 18                                ‘345 Patent, col. 18, ll. 27-36l
                                                                  col. 2: 55 - col. 3: 26                28:32-44. (WSNSDE0009547-611).
                                                                  col. 3: 16-26
                                                                  col. 5: 15 - col. 6: 16
                                                                  col. 6: 29-67
                                                                  col. 7: 1-28
                                                                  col. 8: 34-65
                                                                  col. 14: 18-43
                                                                  col. 20: 56 - col. 21: 7
                                                                  col. 24: 30-41
                                                                  col. 25: 40-67
                                                                  col. 28: 66 - col. 29: 8
                                                                  col. 29: 29-67
                                                                  col. 31: 4 - col. 58: 64
                                                                  col. 64: 55 - col. 68: 42
                                                data              For each telephone call, data (e.g.,   Call-centric data records of the
                                                representations   voice information and/or metadata)     telephone calls, where each record
                                                of lifetimes of   representing an entire telephone       includes a detailed cumulative start-
                                                telephone calls   call.                                  to-finish history of a telephone call,
                                                                                                         including all telephony events and
                                                                                                         participants. Each data
                                                                  Intrinsic evidence:
                                                                                                         representation represents only a
                                                                  Abstract                               single telephone call, is not event-
                                                                  Fig. 10                                centric, and is not constructed on a
                                                                  Fig. 16                                1-to-1 basis for the events during
                                                                  Fig. 16b                               the total lifetime of a call.
                                                                  Fig. 18
                                                                  col. 2: 55 - col. 3: 26                Intrinsic evidence:



                                                              Page 33 of 77
                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 35 of 79 PageID #: 1704
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345      NICE’S           WITNESS’          NICE’S PROPOSED                        WITNESS’ PROPOSED
                               DISPUTED         DISPUTED          CONSTRUCTION                           CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                  col. 3: 16-26                          ‘570 Patent, 5:20-23; 6:10-11; 7:11-
                                                                  col. 5: 15 - col. 6: 16                28; 8:1-16; 8:35-47; 20:34-60;
                                                                                                         21:31-35; 21:59-22:1; 30:19-23;
                                                                  col. 6: 29-67
                                                                                                         33:17-20; 36:23-27; 36:47 – 38:65;
                                                                  col. 7: 1-28                           42:21-25; 54:18-26; Figs. 16, 16B
                                                                  col. 8: 34-65                          7:13-16; 20:34-60; 25:52-55; 26:16-
                                                                  col. 14: 18-43                         20; 27:18-24; 28:45-48; 30:19-23.
                                                                  col. 20: 56 - col. 21: 7               (WSNSDE0009192-254).
                                                                  col. 24: 30-41
                                                                  col. 25: 40-67                         ‘345 Patent, 5:20-23; 6:10-11; ;
                                                                                                         7:11-28; 8:1-16; ; 8:35-47; 20:34-
                                                                  col. 28: 66 - col. 29: 8               60; 21:34-38; 21:62-22:4; 30:11-15;
                                                                  col. 29: 29-67                         33:12-15; 36:23-26; 36:46-38:65;
                                                                  col. 31: 4 - col. 58: 64               43:48-53; 56:56-64; Figs. 16, 16B:
                                                                  col. 64: 55 - col. 68: 42              7:13-16; 20:37-63; 20:44-47; 26:9-
                                                                                                         12; 27:9-16; 28:37-40; 30:11-15.
                                                                                                         (WSNSDE0009547-611).
                                                wherein said      NICE has provided constructions        Using data regarding telephony
                                                data              for “data representation,”             events to associate two or more
                                                representations   “telephony events,” and “telephone     segments of a telephone call to
                                                are constructed   call segments.” The remaining          form a data representation of the
                                                using data        words have a plain meaning that is     lifetime of the telephone call, and
                                                regarding         clear and do not require further       not using identifiers or keys to form
                                                telephony         construction.                          the data representations.
                                                events
                                                associated with
                                                                  Intrinsic evidence:                    Intrinsic evidence:
                                                telephone call
                                                segments          See citations to intrinsic evidence    ‘570 Patent, 20:15-32; 26:55 –
                                                                  for data representation,” “telephony   27:6; 27:29-64; 31:39 – 32:50.
                                                                  events,” and “telephone call           (WSNSDE0009192-254).
                                                                  segments.”
                                                                                                         ‘345 Prosecution History, Second


                                                              Page 34 of 77
                   Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 36 of 79 PageID #: 1705
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                     AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345           NICE’S           WITNESS’            NICE’S PROPOSED                       WITNESS’ PROPOSED
                                    DISPUTED         DISPUTED            CONSTRUCTION                          CONSTRUCTION
                                    CLAIM TERMS      CLAIM TERMS
                                                                                                               Preliminary Amendment, pg. 9-10,
                                                                                                               dated July 23, 2001
                                                                                                               (WSNSDE0009486-98).
40. A method for recording
information regarding
telephone calls comprising one
or more telephone call
segments, wherein said calls
comprise calls wherein at least
one participant participates in a
plurality of segments,
comprising:
 (a) receiving audio data           telephone call   telephone call      Pieces of an entire telephone call.   Portion of a phone call that is
   regarding one or more            segments         segment                                                   bounded by telephony events.
   telephone call segments
                                                                         Intrinsic evidence:
   and data regarding
                                                                         Abstract                              Intrinsic evidence:
   telephone events associated
   with said telephone call                                              Fig. 15                               ‘570 Patent, 58:11-16;
   segments;                                                                                                   (WSNSDE0009192 -
                                                                         col. 2: 55-3: 26
                                                                                                               WSNSDE0009254).
                                                                         col. 3: 16-26
                                                                         col. 4: 66-5: 9
                                                                                                               ‘345 Patent, 58:60:64-61:3.
                                                                         col. 5: 66 - col. 6: 16               (WSNSDE0009547-611).
                                                                         col. 7: 1-28
                                                                         col. 8: 1-16                          ‘370 Prosecution History, Second
                                                                         col. 20: 37-55                        Preliminary Amendment, pg. 6,
                                                                         col. 21: 34-47                        dated August 15, 2001
                                                                         col. 26: 11-30                        (WSNSDE0010051-56).
                                                                         col. 28: 18-65
                                                                         col. 29: 29-56



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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 37 of 79 PageID #: 1706
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345         NICE’S        WITNESS’          NICE’S PROPOSED                         WITNESS’ PROPOSED
                                  DISPUTED      DISPUTED          CONSTRUCTION                            CONSTRUCTION
                                  CLAIM TERMS   CLAIM TERMS
                                                                  col. 32: 15-31
                                                                  col. 49: 56 - col. 52: 66
                                                                  col. 60: 3 - col. 62: 63
                                                                  col. 64: 55 - col. 68: 42
 (b) storing the received audio
   data regarding telephone
   call segments;
 (c) storing the received data    telephony     telephony event   Actions or occurrences (e.g., called    Actions or occurrences detected by
   regarding telephony events     events                          party and calling party numbers,        a computer program and that are
   associated with said                                           trunk and channel ID, date and time     related to what happens to a phone
   telephone call segments;                                       or agent ID), which are related to      call (such as the initiation of the
                                                                  telephone calls, that are detected by   call, the addition or removal of
                                                                  a computer program.                     callers, the transfer of the phone
                                                                                                          call, or the termination of the call),
                                                                                                          and are not identifying numbers.
                                                                  Intrinsic evidence:
                                                                                                          Agent-entered information is not
                                                                  Abstract                                data regarding telephone events.
                                                                  Fig. 4
                                                                  Fig. 6                                  Intrinsic evidence:
                                                                  Fig. 7                                  ‘570 Patent, 7:11-13;
                                                                  Fig. 9                                  (WSNSDE0009192-254).
                                                                  col. 1: 37-57
                                                                  col. 2: 12-27                           ‘345 Patent, 7:11-13.
                                                                  col. 3: 16-26                           (WSNSDE0009547-611).
                                                                  col. 7: 1-59
                                                                  col. 8: 1-34                            ‘345 Prosecution History, Second
                                                                  col. 8: 35-47                           Preliminary Amendment, pg. 9,
                                                                                                          dated July 23, 2001
                                                                  col. 10: 11-34                          (WSNSDE0009486-98).



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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 38 of 79 PageID #: 1707
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                    AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345         NICE’S            WITNESS’            NICE’S PROPOSED                      WITNESS’ PROPOSED
                                  DISPUTED          DISPUTED            CONSTRUCTION                         CONSTRUCTION
                                  CLAIM TERMS       CLAIM TERMS
                                                                        col. 14: 65 - col. 25: 39
                                                                        col. 26: 47-55                       ‘706 Prosecution History, Second
                                                                        col. 26: 66 - col. 27: 56            Preliminary Amendment, pg. 7-9,
                                                                                                             dated July 13, 2001
                                                                        col. 30: 8-15
                                                                                                             (WSNSDE050988-97).
                                                                        col. 31: 4 - col. 32: 61
                                                                        col. 64: 55 - col. 68: 42
                                                                                                             ‘370 Prosecution History, Second
                                                                                                             Preliminary Amendment, pg. 4,
                                                                                                             dated August 15, 2001
                                                                                                             (WSNSDE0010051-56).
 (d) identifying telephone call                     telephone call      “Telephone call” has a plain         Entire conversation with an entity
   segments that relate to one                                          meaning that is clear and does not   from a caller’s perspective,
   telephone call;                                                      require further construction.        including transfers and conferences.

                                                                                                             Intrinsic evidence:
                                                                                                             ‘570 Patent, col. 8, ll. 5-11.
                                                                                                             (WSNSDE0009192-254).

                                                                                                             ‘345 Patent, col. 8,ll 5-11.
                                                                                                             (WSNSDE0009547-611).
 (e) identifying multiple call
   segments that have the
   same participant; and
 (f) constructing data            data                                  Digital representation of data.      Data structure that represents an
   representations of lifetimes   representations                                                            object as a single identifiable entity.
   of telephone calls, wherein
                                                                        Intrinsic evidence:
   each data representation
                                                                        Abstract                             Intrinsic evidence:
   of a telephone call is
   constructed using data                                               Fig. 10                              ‘570 Patent, col. 18, ll. 26-35;
                                                                                                             28:40-51. (WSNSDE0009192-254).


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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 39 of 79 PageID #: 1708
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345       NICE’S          WITNESS’          NICE’S PROPOSED                        WITNESS’ PROPOSED
                                DISPUTED        DISPUTED          CONSTRUCTION                           CONSTRUCTION
                                CLAIM TERMS     CLAIM TERMS
   regarding telephony                                            Fig. 16
   events associated with the                                     Fig. 16b                               ‘345 Patent, col. 18, ll. 27-36;
   telephone call segments of                                                                            28L:32-44.. (WSNSDE0009547-
                                                                  Fig. 18
   the telephone call.                                                                                   611).
                                                                  col. 2: 55 - col. 3: 26
                                                                  col. 3: 16-26
                                                                  col. 5: 15 - col. 6: 16
                                                                  col. 6: 29-67
                                                                  col. 7: 1-28
                                                                  col. 8: 34-65
                                                                  col. 14: 18-43
                                                                  col. 20: 56 - col. 21: 7
                                                                  col. 24: 30-41
                                                                  col. 25: 40-67
                                                                  col. 28: 66 - col. 29: 8
                                                                  col. 29: 29-67
                                                                  col. 31: 4 - col. 58: 64
                                                                  col. 64: 55 - col. 68: 42
                                                data              For each telephone call, data (e.g.,   Call-centric data record of the
                                                representation    voice information and/or metadata)     telephone calls, where each record
                                                of lifetimes of   representing an entire telephone       includes a detailed cumulative start-
                                                telephone calls   call.                                  to-finish history of a telephone call,
                                                                                                         including all telephony events and
                                                                                                         participants. Each data
                                                                  Intrinsic evidence:
                                                                                                         representation represents only a
                                                                  Abstract                               single telephone call, is not event-
                                                                  Fig. 10                                centric, and is not constructed on a
                                                                  Fig. 16                                1-to-1 basis for the events during
                                                                  Fig. 16b                               the total lifetime of a call.



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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 40 of 79 PageID #: 1709
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345      NICE’S           WITNESS’          NICE’S PROPOSED                       WITNESS’ PROPOSED
                               DISPUTED         DISPUTED          CONSTRUCTION                          CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                  Fig. 18
                                                                  col. 2: 55 - col. 3: 26               Intrinsic evidence:
                                                                  col. 3: 16-26                         ‘570 Patent, 5:20-23; 6:10-11; 7:11-
                                                                  col. 5: 15 - col. 6: 16               28; 8:1-16; 8:35-47; 20:34-60;
                                                                                                        21:31-35; 21:59-22:1; 30:19-23;
                                                                  col. 6: 29-67
                                                                                                        33:17-20; 36:23-27; 36:47 – 38:65;
                                                                  col. 7: 1-28                          42:21-25; 54:18-26; Figs. 16, 16B;
                                                                  col. 8: 34-65                         7:13-16; 20:34-60; 25:52-55; 26:16-
                                                                  col. 14: 18-43                        20; 27:18-24; 28:45-48; 30:19-23.
                                                                  col. 20: 56 - col. 21: 7              (WSNSDE0009192-254).
                                                                  col. 24: 30-41
                                                                  col. 25: 40-67                        ‘345 Patent, 5:20-23; 6:10-11; ;
                                                                                                        7:11-28; 8:1-16; ; 8:35-47; 20:34-
                                                                  col. 28: 66 - col. 29: 8              60; 21:34-38; 21:62-22:4; 30:11-15;
                                                                  col. 29: 29-67                        33:12-15; 36:23-26; 36:46-38:65;
                                                                  col. 31: 4 - col. 58: 64              43:48-53; 56:56-64; Figs. 16, 16B:
                                                                  col. 64: 55 - col. 68: 42             7:13-16; 20:37-63; 20:44-47; 26:9-
                                                                                                        12; 27:9-16; 28:37-40; 30:11-15.
                                                                                                        (WSNSDE0009547-611).
                                                wherein each      NICE has provided constructions       Using data regarding telephony
                                                data              for “data representation,”            events to associate two or more
                                                representation    “telephony events,” “telephone call   segments of a telephone call to
                                                of a telephone    segments” and “telephone call.”       form a data representation of the
                                                call is           The remaining words have a plain      lifetime of the telephone call, and
                                                constructed       meaning that is clear and do not      not using identifier or key to form
                                                using data        require further construction.         the data representations.
                                                regarding
                                                telephony
                                                                  Intrinsic evidence:                   Intrinsic evidence:
                                                events
                                                associated with   See citations to intrinsic evidence   ‘570 patent, 20:15-32; 26:55 – 27:6;
                                                the telephone     for “data representation,”            27:29-64; 31:39 – 32:50.
                                                                  “telephony events,” “telephone call


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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 41 of 79 PageID #: 1710
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,728,345      NICE’S           WITNESS’         NICE’S PROPOSED                   WITNESS’ PROPOSED
                               DISPUTED         DISPUTED         CONSTRUCTION                      CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                call segments    segments” and “telephone call.”   (WSNSDE0009192-254).
                                                of the
                                                telephone call
                                                                                                   ‘345 Patent, 20:18-36; 26:47-65;
                                                                                                   27:21-56; 31:32-32:31.
                                                                                                   (WSNSDE0009547-611).

                                                                                                   ‘345 Prosecution History, Second
                                                                                                   Preliminary Amendment, pg. 9-10,
                                                                                                   dated July 23, 2001
                                                                                                   (WSNSDE0009486-98).




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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 42 of 79 PageID #: 1711
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                  AMENDED JOINT CLAIM CONSTRUCTION



U.S. PATENT NO. 6,775,372          NICE’S         WITNESS’         NICE’S PROPOSED                          WITNESS’ PROPOSED
                                   DISPUTED       DISPUTED         CONSTRUCTION                             CONSTRUCTION
                                   CLAIM TERMS    CLAIM TERMS
1. A multi-stage data logging
system comprising:
 a) a telecommunications           telecom-       telecom-         The stage that serves to capture and     Device that receives input from
   ("telecom") stage               munications    munications      pre-process signals from two or          communication channels passively,
   receiving input from a          (“telecom”)    (“telecom”)      more communication channels and          and is not part of the
   plurality of communication      stage          stage            interfaces with the recorder stage.      communications system.
   channels;
                                                                   Intrinsic evidence:                      Intrinsic evidence:
                                                                   Figs. 4-6                                ‘372 Patent, 2:57-64, 3:2-6, 7:60-
                                                                   col. 6: 61-69                            8:5, 9:11-60 (WSNSDE0009798-
                                                                                                            813).
                                                                   col. 7: 51 - col. 9: 53
                                                                   ’372 Prosecution History,
                                                                   Response, pp. 9-11 (Oct. 2001)           ‘372 Prosecution History,
                                                                                                            Amendment pgs. 9-10, dated
                                                                                                            September 24, 2001
                                                                                                            (WSNSDE0009690-704).
 b) a recorder stage having
  one or more recorders, at
  least one recorder logging
  data associated with
  information transmitted on
  at least one of said plurality
  of communication
  channels;
 c) a distribution stage           distribution                    The stage that serves for retrieval of   Plain meaning.
   providing access to data        stage                           recorded information and providing
   logged in the recorder                                          it in a human recognizable form
   stage;                                                          and/or serves for archiving the



                                                                Page 41 of 77
                   Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 43 of 79 PageID #: 1712
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                  AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,775,372           NICE’S        WITNESS’           NICE’S PROPOSED                        WITNESS’ PROPOSED
                                    DISPUTED      DISPUTED           CONSTRUCTION                           CONSTRUCTION
                                    CLAIM TERMS   CLAIM TERMS
                                                                     recorded information to removable
                                                                     storage.

                                                                     Intrinsic evidence:
                                                                     Figs. 4-6
                                                                     col. 3: 17-24
                                                                     col. 3: 45-48
                                                                     col. 6: 68 - col. 7: 10
                                                                     col. 7: 20-28
                                                                     col. 11: 42 - col. 12: 68
                                                                     col. 14: 11-40
                                                                     ’372 Prosecution History,
                                                                     Response, p. 9 (Oct. 2001)
                                                                     ’372 Prosecution History,
                                                                     Response, pp. 4-6 (Jun. 2003)
 d) a first interface linking the
  telecom and the recorder
  stages and a second
  interface linking the
  recorder and the
  distribution stages;
 wherein at least two stages                      wherein at least   At least two of the stages are         Wherein the telecom stage and
  of the system are                               two stages of      physically separable and are           recorder stage are physically
  physically separable and                        the system are     capable of functioning if physically   separable and can be located wide
  in operation can be                             physically         separated by substantial distance.     distances apart, and wherein the
  located wide distances                          separable and                                             distribution stage can be physically
  apart.                                          in operation                                              separable and located wide
                                                                     Intrinsic evidence:
                                                  can be located                                            distances from the telecom and/or
                                                  wide distances     Figs. 5, 6                             recorder stage.



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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 44 of 79 PageID #: 1713
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,775,372        NICE’S         WITNESS’        NICE’S PROPOSED                      WITNESS’ PROPOSED
                                 DISPUTED       DISPUTED        CONSTRUCTION                         CONSTRUCTION
                                 CLAIM TERMS    CLAIM TERMS
                                                apart.          col. 3: 8-11
                                                                col. 3: 30-45                        Intrinsic evidence:
                                                                col. 7: 7-20                         ‘372 Patent, 9:40-50
                                                                col. 7: 28-50                        (WSNSDE0009798-813).
                                                                col. 12: 54-68
                                                                col. 13: 34-41                       ‘372 Prosecution History, Response
                                                                                                     pgs. 3-4, dated June 18, 2003
                                                                ’372 Prosecution History,
                                                                                                     (WSNSDE0009769-75).
                                                                Response, pp. 3-4 (Jun. 2003)
33. The data logging system of                  Web server      A component that provides access     A computer that receives a request
claim 32, wherein the network                                   to information accessible from a     for stored data, retrieves the stored
server is a Web server.                                         computer connected to the Internet   data, and transfers the data over the
                                                                or an intranet.                      World Wide Web.

                                                                Intrinsic evidence:                  Intrinsic evidence:
                                                                Figs. 4-6                            ‘372 Patent, 4:51-58,12:11-43
                                                                col. 4: 51-60                        (WSNSDE0009798-813).
                                                                col. 7: 20-28
                                                                col. 10: 57-59                       ‘372 Prosecution History,
                                                                                                     Amendment pg. 13, dated
                                                                col. 12: 12-53
                                                                                                     September 24, 2001
                                                                col. 14: 11-40                       (WSNSDE0009690-704).
                                                                ’372 Prosecution History,
                                                                Response, p. 13 (Oct. 2001)




                                                             Page 43 of 77
                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 45 of 79 PageID #: 1714
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION



U.S. PATENT NO. 6,785,370       NICE’S          WITNESS’          NICE’S PROPOSED                        WITNESS’ PROPOSED
                                DISPUTED        DISPUTED          CONSTRUCTION                           CONSTRUCTION
                                CLAIM TERMS     CLAIM TERMS
1. A method for constructing                    data              For each telephone call, data (e.g.,   Call-centric data record of the
and maintaining data                            representations   voice information and/or metadata)     telephone calls, where each record
representations of lifetimes                    of lifetimes of   representing an entire telephone       includes a detailed cumulative start-
of telephone calls comprising                   the telephone     call.                                  to-finish history of a telephone call,
one or more segments, audio                     calls                                                    including all telephony events and
data for each segment being                                                                              participants. Each data
                                                                  Intrinsic evidence:
recorded on one or more                                                                                  representation represents only a
recorders, the method                                             Abstract                               single telephone call, is not event-
comprising:                                                       Fig. 10                                centric, and is not constructed on a
                                                                  Fig. 16                                1-to-1 basis for the events during
                                                                  Fig. 16b                               the total lifetime of a call.
                                                                  Fig. 18
                                                                  col. 2: 55 - col. 3: 14                Intrinsic evidence:
                                                                  col. 3: 17-30                          ‘570 Patent, 5:20-23; 6:10-11; 7:11-
                                                                                                         28; 8:1-16; 8:35-47; 20:34-60;
                                                                  col. 5: 21 - col. 6: 23                21:31-35; 21:59-22:1; 28:40-29:15;
                                                                  col. 6: 37 - col. 7: 8                 30:19-23; 33:17-20; 36:23-27;
                                                                  col. 7: 9-36                           36:47 – 38:65; 42:21-25; 54:18-26;
                                                                  col. 8: 44 - col. 9: 8                 Figs. 16, 16B; 7:13-16; 20:34-60;
                                                                                                         25:52-55; 26:16-20; 27:18-24;
                                                                  col. 14: 33-58                         28:45-48; 30:19-23.
                                                                  col. 22: 45-63                         (WSNSDE0009192-254).
                                                                  col. 27: 1-12
                                                                  col. 28: 13-40                         ‘370 Patent, 5:27-30; 6:17-18; 7:19-
                                                                  col. 31: 41-50                         36; 8: 9-25; 8:44-57;
                                                                  col. 32: 5-43                          21:66-22:52; 23:23-27; 23:51-60;
                                                                  col. 33: 46 - col. 61: 48              31:7-50; 32:54-58; 35:55-58; 38:48-
                                                                                                         51; 40:1-42:16; 46:58-62; 60:9-17;
                                                                  col. 67: 53 - col. 70: 38
                                                                                                         Figs 16, 16B; 7:21-24; 21:66-22:52;
                                                                                                         28:17-20; 27:50-53; 29:51-57;


                                                              Page 44 of 77
                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 46 of 79 PageID #: 1715
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370         NICE’S        WITNESS’         NICE’S PROPOSED                       WITNESS’ PROPOSED
                                  DISPUTED      DISPUTED         CONSTRUCTION                          CONSTRUCTION
                                  CLAIM TERMS   CLAIM TERMS
                                                                                                       31:12-15; 32:54-58.
                                                                                                       (WSNSDE0010104-68).
 (a) constructing a call record                 call record      Data regarding telephony events for   Call-centric data record of a
   for at least one telephone                                    one or more segments of a             telephone call that includes a
   call;                                                         telephone call.                       detailed cumulative history of a
                                                                                                       telephone call, including all
                                                                                                       telephony events and participants.
                                                                 Intrinsic evidence:
                                                                                                       Each call record represents only a
                                                                 Abstract                              single call, is not event-centric, and
                                                                 Fig. 10                               is not constructed on a 1-to-1 basis
                                                                 Fig. 16                               for the events during the total
                                                                 Fig. 16b                              lifetime of a call.
                                                                 col. 3: 17-30
                                                                 col. 7: 1-28                          Intrinsic evidence:
                                                                 col. 11: 11-56                        ‘570 Patent, 5:20-23; 6:10-11; 7:11-
                                                                                                       28; 8:1-16; 8:35-47; 20:34-60;
                                                                 col. 20: 61 - col. 58: 56             21:31-35; 21:59-22:1; 28:40-29:15;
                                                                 col. 67: 53 - col. 70: 38             30:19-23; 33:17-20; 36:23-27;
                                                                                                       36:47 – 38:65; 42:21-25; 54:18-26;
                                                                                                       Figs. 16, 16B; 7:13-16; 20:34-60;
                                                                                                       25:52-55; 26:16-20; 27:18-24;
                                                                                                       28:45-48; 30:19-23.
                                                                                                       (WSNSDE0009192-254).

                                                                                                       ‘370 Patent, 5:27-30; 6:17-18; 7:19-
                                                                                                       36; 8: 9-25; 8:44-57; 21:66-22:52;
                                                                                                       23:23-27; 23:51-60; 31:7-50; 32:54-
                                                                                                       58; 35:55-58; 38:48-51; 40:1-42:16;
                                                                                                       46:58-62; 60:9-17; Figs 16, 16B;
                                                                                                       7:21-24; 21:66-22:52; 28:17-20;
                                                                                                       27:50-53; 29:51-57; 31:12-15;



                                                              Page 45 of 77
                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 47 of 79 PageID #: 1716
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370        NICE’S         WITNESS’            NICE’S PROPOSED                         WITNESS’ PROPOSED
                                 DISPUTED       DISPUTED            CONSTRUCTION                            CONSTRUCTION
                                 CLAIM TERMS    CLAIM TERMS
                                                                                                            32:54-58. (WSNSDE0010104-68).
                                                telephone call      “Telephone call” has a plain            Entire conversation with an entity
                                                                    meaning that is clear and does not      from a caller’s perspective,
                                                                    require further construction.           including transfers and conferences.

                                                                                                            Intrinsic evidence:
                                                                                                            ‘570 Patent, col. 8, ll. 5-11.
                                                                                                            (WSNSDE0009192-254).

                                                                                                            ‘370 Patent, col. 8, 13-15.
                                                                                                            (WSNSDE0010104-68).
 (b) receiving data regarding    telephony      telephony event     Actions or occurrences (e.g., called    Actions or occurrences detected by
   telephony events              events                             party and calling party numbers,        a computer program and that are
   associated with one or more                                      trunk and channel ID, date and time     related to what happens to a phone
   telephone calls;                                                 or agent ID), which are related to      call (such as the initiation of the
                                                                    telephone calls, that are detected by   call, the addition or removal of
                                                                    a computer program.                     callers, the transfer of the phone
                                                                                                            call, or the termination of the call),
                                                                                                            and are not identifying numbers.
                                                                    Intrinsic evidence:
                                                                                                            Agent-entered information is not
                                                                    Abstract                                data regarding telephone events.
                                                                    Fig. 4
                                                                    Fig. 6                                  Intrinsic evidence:
                                                                    Fig. 7                                  ‘570 Patent, 7:11-13;
                                                                    Fig. 9                                  (WSNSDE0009192-254).
                                                                    col. 1: 37-57
                                                                    col. 2: 12-27                           ‘370 Patent, 7:21-23.
                                                                    col. 3: 17-30                           (WSNSDE0010104-68).
                                                                    col. 7: 9-67



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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 48 of 79 PageID #: 1717
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370      NICE’S           WITNESS’           NICE’S PROPOSED                        WITNESS’ PROPOSED
                               DISPUTED         DISPUTED           CONSTRUCTION                           CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                   col. 8: 9-44                           ‘345 Prosecution History, Second
                                                                   col. 8: 45-57                          Preliminary Amendment, pg. 9-10,
                                                                                                          dated July 23, 2001
                                                                   col. 10: 23-51
                                                                                                          (WSNSDE0009486-98).
                                                                   col. 15: 13 - col. 28: 12
                                                                   col. 29: 21-29
                                                                                                          ‘706 Prosecution History, Second
                                                                   col. 29: 40 - col. 30: 31              Preliminary Amendment, pg. 7-9,
                                                                   col. 32: 51-58                         dated July 13, 2001
                                                                   col. 33: 46 - col. 35: 36              (WSNSDE050988-97).
                                                                   col. 67: 53 - col. 70: 38
                                                                                                          ‘370 Prosecution History, Second
                                                                                                          Preliminary Amendment, pg. 4,
                                                                                                          dated August 15, 2001
                                                                                                          (WSNSDE0010051-56).
 (c) matching a received                        matching a         NICE has provided constructions        Performing a calculation to resolve
   telephony event with a                       received           for “telephony event” and “call        an ambiguity between the received
   constructed call record;                     telephony event    record.” The remaining words have      telephony event and the constructed
                                                with a             a plain meaning that is clear and do   call record.
                                                constructed call   not require further construction.
                                                record
                                                                                                          Intrinsic evidence:
                                                                   Intrinsic evidence:                    ‘570 patent, 8:56 – 10:30; 20:15-32;
                                                                   See citations to intrinsic evidence    12:6-16; 14:38-59; 20:16-32; 25:38-
                                                                   for “telephony event” and “call        41; Fig. 5, steps 508, 510, 516, 522,
                                                                   record.”                               524 and 526. (WSNSDE0009192-
                                                                                                          254).

                                                                                                          ‘370 patent, 8:66-10:51; 21:47-65;
                                                                                                          12:27-37; 14:59-15:12; 21:47-65;
                                                                                                          28:3-6; Fig. 5, steps 508, 510, 516,
                                                                                                          522, 524 and 526.



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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 49 of 79 PageID #: 1718
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370         NICE’S        WITNESS’          NICE’S PROPOSED                       WITNESS’ PROPOSED
                                  DISPUTED      DISPUTED          CONSTRUCTION                          CONSTRUCTION
                                  CLAIM TERMS   CLAIM TERMS
                                                                                                        (WSNSDE0010104-68).

                                                                                                        ‘370 Prosecution History, Second
                                                                                                        Preliminary Amendment, pg. 4-5,
                                                                                                        dated August 15, 2001
                                                                                                        (WSNSDE0010051-56).
 (d) updating the matching
   call record based on the
   received telephony event
   data; and
 (e) combining the updated                      combining the     NICE has provided constructions       Storing data indicating the location
   call record with data                        updated call      for “segment” and “call record.”      of recorded audio data for the
   indicating the location of                   record with       The remaining words have a plain      segment of the call in the updated
   recorded audio data for                      data indicating   meaning that is clear and do not      call record, where the updated call
   the segment of the call, to                  the location of   require further construction.         record does not have data indicting
   obtain a master call record                  recorded audio                                          the location of the recorded audio
   representing the lifetime of                 data for the                                            data for the segment of the call.
                                                                  Intrinsic evidence:
   the telephone call.                          segment of the
                                                call              See citations to intrinsic evidence
                                                                  for “segment” and “call record.”      Intrinsic evidence:
                                                                                                        ‘570 Patent, 3:2-11; 3:14-22; 5:20-
                                                                                                        23; 7:18-20; 27:65 – 28:16; 28:25-
                                                                                                        39; 29:6-15. (WSNSDE0009192-
                                                                                                        254).

                                                                                                        ‘370 Patent, 3:7-14; 3:17-30; 5:27-
                                                                                                        30; 7:26-28; 30:32-50; 30:59-31:6;
                                                                                                        31:40-50. (WSNSDE0010104-68).
                                                segment           The claim term “segment” is used      The term “segment” is indefinite; it
                                                                  in the claims and specification in    can either be a telephone call
                                                                  the phrase “segment of the call.”


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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 50 of 79 PageID #: 1719
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370      NICE’S           WITNESS’         NICE’S PROPOSED                        WITNESS’ PROPOSED
                               DISPUTED         DISPUTED         CONSTRUCTION                           CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                 This claim term has a plain            segment or an audio data segment.
                                                                 meaning that is clear and does not
                                                                 require further construction.
                                                                                                        In the alternative, a segment is a
                                                                                                        portion of a phone call that is
                                                                 Intrinsic evidence:                    bounded by telephony events.
                                                                 Abstract
                                                                 col. 3: 17-30                          Intrinsic evidence:
                                                                 col. 67: 53 - col. 70: 38              ‘570 Patent, 58:11-16 .
                                                                                                        (WSNSDE0009192-254).

                                                                                                        ‘370 Patent, 63:60-65.
                                                                                                        (WSNSDE0010104-68).

                                                                                                        ‘370 Prosecution History, Second
                                                                                                        Preliminary Amendment, pg. 6,
                                                                                                        dated August 15, 2001
                                                                                                        (WSNSDE0010051-56).
                               master call      master call      A record containing information        Call-centric data record of a
                               record           record           about the location of all telephone    telephone call that includes (a) data
                                                                 call segments of an entire telephone   matching the call with the segments
                                                                 call.                                  that make up the call; (b) data
                                                                                                        indicating the location of a
                                                                                                        recording for each segment; and (c)
                                                                 Intrinsic evidence:
                                                                                                        a detailed cumulative start-to-finish
                                                                 Abstract                               history of the telephone call,
                                                                 Fig. 10                                including all telephony events and
                                                                 Fig. 16                                participants. Each master call
                                                                 Fig. 16b                               record represents only a single call,
                                                                                                        in non event-centric, and is not
                                                                 Fig. 18                                constructed on a 1-to-1 bases for



                                                              Page 49 of 77
                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 51 of 79 PageID #: 1720
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370       NICE’S          WITNESS’          NICE’S PROPOSED                        WITNESS’ PROPOSED
                                DISPUTED        DISPUTED          CONSTRUCTION                           CONSTRUCTION
                                CLAIM TERMS     CLAIM TERMS
                                                                  col. 2: 55 - col. 3: 14                the events during the total lifetime
                                                                  col. 3: 17-30                          of a call.
                                                                  col. 5: 21 - col. 6: 23
                                                                  col. 6: 37 - col. 7: 8                 Intrinsic evidence:
                                                                  col. 7: 9-36                           ‘570 Patent, 3:2-11; 3:14-22; 5:20-
                                                                                                         23; 6:10-11; 7:11-28; 8:1-16; 8:35-
                                                                  col. 8: 44 - col. 9: 8
                                                                                                         47; 20:34-60; 21:31-35; 21:59-22:1;
                                                                  col. 14: 33-58                         28:40-29:15; 29:65-30:8; 30:19-23;
                                                                  col. 22: 45-63                         32:38-50; 33:17-20; 36:23-27;
                                                                  col. 27: 1-12                          36:32 – 42:10; 42:21-25; 46:30-
                                                                  col. 28: 13-40                         47:45; 54:18-26; Figs. 16, 16B; 570
                                                                                                         Patent, 7:13-16; 20:34-60; 25:52-
                                                                  col. 31: 41-50                         55; 26:16-20; 27:18-24; 28:45-48;
                                                                  col. 32: 5-43                          30:19-23. (WSNSDE0009192-254).
                                                                  col. 33: 46 - col. 61: 48
                                                                  col. 67: 53 - col. 70: 38              ‘370 Patent, 3:7-14; 3:17-30; 5:27-
                                                                                                         30; 6:17-18; 7:19-36; 8: 9-25; 8:44-
                                                                                                         57;21:66-22:52, 23:23-27; 23:51-
                                                                                                         59; 31:7-50; 32:33-43;32:54-58;
                                                                                                         35:5-18; 35:55-58; 38:48-51; 38:58-
                                                                                                         42:16; 45:58-62; 51:7-19; 60:9-17; ;
                                                                                                         Figs. 16, 16B. 370 Patent, 7:21-24;
                                                                                                         21:66-22:52; 28:17-20; 27:50-53;
                                                                                                         29:51-57; 31:12-15; 32:54-58.
                                                                                                         (WSNSDE0010104-68).
27. A method for constructing                   data              For each telephone call, data (e.g.,   Call-centric data records of
and maintaining data                            representations   voice information and/or metadata)     telephone calls, where each record
representations of lifetimes                    of lifetimes of   representing an entire telephone       includes a detailed cumulative start-
of telephone calls comprising                   telephone calls   call.                                  to-finish history of a telephone call,
two or more segments, audio                                                                              including all telephony events and
data for each segment being                                                                              participants. Each data



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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 52 of 79 PageID #: 1721
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370         NICE’S        WITNESS’         NICE’S PROPOSED                       WITNESS’ PROPOSED
                                  DISPUTED      DISPUTED         CONSTRUCTION                          CONSTRUCTION
                                  CLAIM TERMS   CLAIM TERMS
recorded on one or more                                          Intrinsic evidence:                   representation represents only a
recorders, the method                                            Abstract                              single telephone call, is not event-
comprising the steps of:                                                                               centric, and is not constructed on a
                                                                 Fig. 10
                                                                                                       1-to-1 basis for the events during
                                                                 Fig. 16                               the total lifetime of a call.
                                                                 Fig. 16b
                                                                 Fig. 18                               Intrinsic evidence:
                                                                 col. 2: 55 - col. 3: 14               ‘570 Patent, 5:20-23; 6:10-11; 7:11-
                                                                 col. 3: 17-30                         28; 8:1-16; 8:35-47; 20:34-60;
                                                                 col. 5: 21 - col. 6: 23               21:31-35; 21:59-22:1; 28:40-29:15;
                                                                 col. 6: 37 - col. 7: 8                30:19-23; 33:17-20; 36:23-27;
                                                                                                       36:47 – 38:65; 42:21-25; 54:18-26;
                                                                 col. 7: 9-36                          Figs. 16, 16B; 7:13-16; 20:34-60;
                                                                 col. 8: 44 - col. 9: 8                25:52-55; 26:16-20; 27:18-24;
                                                                 col. 14: 33-58                        28:45-48; 30:19-23.
                                                                 col. 22: 45-63                        (WSNSDE0009192-254).
                                                                 col. 27: 1-12
                                                                 col. 28: 13-40                        ‘370 Patent, 5:27-30; 6:17-18; 7:19-
                                                                                                       36; 8:9-25; 8:44-57; 21:47-65;
                                                                 col. 31: 41-50                        21:66-22:52; 23:23-26; 23:51-59;
                                                                 col. 32: 5-43                         31:7-50; 32:54-58; 35:55-58; 33:48-
                                                                 col. 33: 46 - col. 61: 48             51; 40:1-42-16; 45:58-62; 60:9-17;
                                                                 col. 67: 53 - col. 70: 38             Figs 16, 16B; 7:21-24; 21:66-22:52;
                                                                                                       28:17-20; 27:50-53; 29:51-57;
                                                                                                       31:12-15; 32:54-58.
                                                                                                       (WSNSDE0010104-68).
 (a) constructing a call record                 call record      Data regarding telephony events for   Call-centric data record of a
   for a telephone call                                          one or more segments of a             telephone call that includes a
   comprising two or more                                        telephone call.                       detailed cumulative history of a
   segments;                                                                                           telephone call, including all
                                                                                                       telephony events and participants.



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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 53 of 79 PageID #: 1722
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370      NICE’S           WITNESS’            NICE’S PROPOSED                      WITNESS’ PROPOSED
                               DISPUTED         DISPUTED            CONSTRUCTION                         CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                    Intrinsic evidence:                  Each call record represents only a
                                                                    Abstract                             single call, is not event-centric, and
                                                                                                         is not constructed on a 1-to-1 basis
                                                                    Fig. 10
                                                                                                         for the events during the total
                                                                    Fig. 16                              lifetime of a call.
                                                                    Fig. 16b
                                                                    col. 3: 17-30                        Intrinsic evidence:
                                                                    col. 7: 1-28                         ‘570 Patent, 5:20-23; 6:10-11; 7:11-
                                                                    col. 11: 11-56                       28; 8:1-16; 8:35-47; 20:34-60;
                                                                    col. 20: 61 - col. 58: 56            21:31-35; 21:59-22:1; 28:40-29:15;
                                                                    col. 67: 53 - col. 70: 38            30:19-23; 33:17-20; 36:23-27;
                                                                                                         36:47 – 38:65; 42:21-25; 54:18-26;
                                                                                                         Figs. 16, 16B; 7:13-16; 20:34-60;
                                                                                                         25:52-55; 26:16-20; 27:18-24;
                                                                                                         28:45-48; 30:19-23.
                                                                                                         (WSNSDE0009192-254).

                                                                                                         ’370 Patent, ‘370 Patent, 5:27-30;
                                                                                                         6:17-18; 7:19-36; 8: 9-25; 8:44-57;
                                                                                                         21:66-22:52; 23:23-27; 23:51-60;
                                                                                                         31:7-50; 32:54-58; 35:55-58; 38:48-
                                                                                                         51; 40:1-42:16; 46:58-62; 60:9-17;
                                                                                                         Figs 16, 16B; 7:21-24; 21:66-22:52;
                                                                                                         28:17-20; 27:50-53; 29:51-57;
                                                                                                         31:12-15; 32:54-58.
                                                                                                         (WSNSDE0010104-68).
                                                telephone call      “Telephone call” has a plain         Entire conversation with an entity
                                                                    meaning that is clear and does not   from a caller’s perspective,
                                                                    require further construction.        including transfers and conferences.




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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 54 of 79 PageID #: 1723
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370       NICE’S          WITNESS’       NICE’S PROPOSED                        WITNESS’ PROPOSED
                                DISPUTED        DISPUTED       CONSTRUCTION                           CONSTRUCTION
                                CLAIM TERMS     CLAIM TERMS
                                                                                                      Intrinsic evidence:
                                                                                                       ‘570 Patent, col. 8, ll. 5-11.
                                                                                                      (WSNSDE0009192-254).

                                                                                                      ‘370 Patent, col. 8, 13-15.
                                                                                                      (WSNSDE0010104-68).
                                                segment        The claim term “segment” is used       The term “segment” is indefinite; it
                                                               in the claims and specification in     can either be a telephone call
                                                               the phrase “segment of the call.”      segment or an audio data segment.
                                                               This claim term has a plain
                                                               meaning that is clear and does not
                                                                                                      In the alternative, a segment is a
                                                               require further construction.
                                                                                                      portion of a phone call that is
                                                                                                      bounded by telephony events.
                                                               Intrinsic evidence:
                                                               Abstract                               Intrinsic evidence:
                                                               col. 3: 17-30                          ‘570 Patent, 58:11-16;
                                                               col. 67: 53 - col. 70: 38              (WSNSDE0009192-254).

                                                                                                      ‘370 Patent, 63:60-65.
                                                                                                      (WSNSDE0010104-68).

                                                                                                      ‘370 Prosecution History, Second
                                                                                                      Preliminary Amendment, pg. 6,
                                                                                                      dated August 15, 2001
                                                                                                      (WSNSDE0010051-56).
 (b) receiving data regarding   telephony       telephony      Actions or occurrences (e.g., called   Actions or occurrences detected by
   one or more telephony        events          events         party and calling party numbers,       a computer program and that are
   events associated with the                                  trunk and channel ID, date and time    related to what happens to a phone
   telephone call;                                             or agent ID), which are related to     call (such as the initiation of the


                                                            Page 53 of 77
                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 55 of 79 PageID #: 1724
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370      NICE’S           WITNESS’           NICE’S PROPOSED                         WITNESS’ PROPOSED
                               DISPUTED         DISPUTED           CONSTRUCTION                            CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                   telephone calls, that are detected by   call, the addition or removal of
                                                                   a computer program.                     callers, the transfer of the phone
                                                                                                           call, or the termination of the call),
                                                                                                           and are not identifying numbers.
                                                                   Intrinsic evidence:
                                                                                                           Agent-entered information is not
                                                                   Abstract                                data regarding telephone events.
                                                                   Fig. 4
                                                                   Fig. 6                                  Intrinsic evidence:
                                                                   Fig. 7                                  ‘570 Patent, 7:11-13
                                                                   Fig. 9                                  (WSNSDE0009192-254).
                                                                   col. 1: 37-57
                                                                   col. 2: 12-27                           ‘370 Patent, 7:21-23.
                                                                   col. 3: 17-30                           (WSNSDE0010104-68).
                                                                   col. 7: 9-67
                                                                   col. 8: 9-44                            ‘345 Prosecution History, Second
                                                                   col. 8: 45-57                           Preliminary Amendment, pg. 9,
                                                                                                           dated July 23, 2001
                                                                   col. 10: 23-51                          (WSNSDE0009486-98).
                                                                   col. 15: 13 - col. 28: 12
                                                                   col. 29: 21-29                          ‘706 Prosecution History, Second
                                                                   col. 29: 40 - col. 30: 31               Preliminary Amendment, pg. 7-9,
                                                                   col. 32: 51-58                          dated July 13, 2001
                                                                   col. 33: 46 - col. 35: 36               (WSNSDE050988-97).
                                                                   col. 67: 53 - col. 70: 38
                                                                                                           ‘370 Prosecution History, Second
                                                                                                           Preliminary Amendment, pg. 4,
                                                                                                           dated August 15, 2001
                                                                                                           (WSNSDE0010051-56).
 (c) matching said one or                       matching said      NICE has provided constructions         Performing a calculation to resolve
   more received telephony                      one or more        for “telephony events” and “call        an ambiguity between the one or


                                                                Page 54 of 77
                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 56 of 79 PageID #: 1725
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370        NICE’S         WITNESS’           NICE’S PROPOSED                        WITNESS’ PROPOSED
                                 DISPUTED       DISPUTED           CONSTRUCTION                           CONSTRUCTION
                                 CLAIM TERMS    CLAIM TERMS
   events with said call                        received           record.” The remaining words have      more received telephony events and
   record;                                      telephony          a plain meaning that is clear and do   constructed call record.
                                                events with        not require further construction.
                                                said call record
                                                                                                          Intrinsic evidence:
                                                                   Intrinsic evidence:                    ‘570 patent, 8:56 – 10:30; 20:15-32;
                                                                   See citations to intrinsic evidence    12:6-16; 14:38-59; 20:16-32; 25:38-
                                                                   for “telephony events” and “call       41; Fig. 5, steps 508, 510, 516, 522,
                                                                   record.”                               524 and 526; (WSNSDE0009192-
                                                                                                          254).

                                                                                                          ‘370 patent, 8:66-10:51; 21:47-65;
                                                                                                          12:27-37; 14:59-15:12; 21:47-65;
                                                                                                          28:3-6; Fig. 5, steps 508, 510, 516,
                                                                                                          522, 524 and 526.
                                                                                                          (WSNSDE0010104-68).

                                                                                                          ‘370 Prosecution History, Second
                                                                                                          Preliminary Amendment, pg. 4-5,
                                                                                                          dated August 15, 2001
                                                                                                          (WSNSDE0010051-56).
 (d) updating said call record
   based on said received
   telephony event data; and
 (e) combining said updated                     combining said     NICE has provided constructions        Storing data indicating one or more
   call record with data                        updated call       for “segments” and “call record.”      locations of recorded audio data for
   indicating one or more                       record with        The remaining words have a plain       two or more segments of the call in
   locations of recorded                        data indicating    meaning that is clear and do not       an updated call record, where the
   audio data for two or                        one or more        require further construction.          updated call record does not have
   more segments of the call,                   locations of                                              data indicating one or more
   to obtain a master call                      recorded audio                                            locations of recorded audio data for
                                                                   Intrinsic evidence:


                                                               Page 55 of 77
                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 57 of 79 PageID #: 1726
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370       NICE’S          WITNESS’          NICE’S PROPOSED                        WITNESS’ PROPOSED
                                DISPUTED        DISPUTED          CONSTRUCTION                           CONSTRUCTION
                                CLAIM TERMS     CLAIM TERMS
   record representing the                      data for two or   See citations to intrinsic evidence    two or more segments of the call.
   lifetime of said telephone                   more segments     for “segments” and “call record.”
   call.                                        of the call
                                                                                                         Intrinsic evidence:
                                                                                                         ‘570 Patent, 3:2-11; 3:14-22; 5:20-
                                                                                                         23; 7:18-20; 27:65 – 28:16; 28:25-
                                                                                                         39; 29:6-15. (WSNSDE0009192-
                                                                                                         254).

                                                                                                         ‘370 Patent, 3:7-14; 3:17-30; 5:27-
                                                                                                         30; 7:26-28; 30:32-50; 30:59-31:6;
                                                                                                         31:40-50. (WSNSDE0010104-68).
                                master call     master call       A record containing information        Call-centric data record of a
                                record          record            about the location of all telephone    telephone call that includes (a) data
                                                                  call segments of an entire telephone   matching the call with the segments
                                                                  call.                                  that make up the call; (b) data
                                                                                                         indicating the location of a
                                                                                                         recording for each segment; and (c)
                                                                  Intrinsic evidence:
                                                                                                         a detailed cumulative start-to-finish
                                                                  Abstract                               history of the telephone call,
                                                                  Fig. 10                                including all telephony events and
                                                                  Fig. 16                                participants. Each master call
                                                                  Fig. 16b                               record represents only a single call,
                                                                                                         in non event-centric, and is not
                                                                  Fig. 18                                constructed on a 1-to-1 bases for
                                                                  col. 2: 55-3: 14                       the events during the total lifetime
                                                                  col. 3: 17-30                          of a call.
                                                                  col. 5: 21 - col. 6: 23
                                                                  col. 6: 37 - col. 7: 8                 Intrinsic evidence:
                                                                  col. 7: 9-36                           ‘570 Patent, 3:2-11; 3:14-22; 5:20-
                                                                  col. 8: 44 - col. 9: 8                 23; 6:10-11; 7:11-28; 8:1-16; 8:35-



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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 58 of 79 PageID #: 1727
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,785,370      NICE’S           WITNESS’      NICE’S PROPOSED             WITNESS’ PROPOSED
                               DISPUTED         DISPUTED      CONSTRUCTION                CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                              col. 14: 33-58              47; 20:34-60; 21:31-35; 21:59-22:1;
                                                              col. 22: 45-63              28:40-29:15; 29:65-30:8; 30:19-23;
                                                                                          32:38-50; 33:17-20; 36:23-27;
                                                              col. 27: 1-12
                                                                                          36:32 – 42:10; 42:21-25; 46:30-
                                                              col. 28: 13-40              47:45; 54:18-26; Figs. 16, 16B;
                                                              col. 31: 41-50              570 Patent, 7:13-16; 20:34-60;
                                                              col. 32: 5-43               25:52-55; 26:16-20; 27:18-24;
                                                              col. 33: 46 - col. 61: 48   28:45-48; 30:19-23.
                                                                                          (WSNSDE0009192-254).
                                                              col. 67: 53 - col. 70: 38

                                                                                          ‘370 Patent, 3:7-14; 3:17-30; 5:27-
                                                                                          30; 6:17-18; 7:19-36; 8: 9-25; 8:44-
                                                                                          57;21:66-22:52, 23:23-27; 23:51-
                                                                                          59; 31:7-50; 32:33-43;32:54-58;
                                                                                          35:5-18; 35:55-58; 38:48-51; 38:58-
                                                                                          42:16; 45:58-62; 51:7-19; 60:9-17; ;
                                                                                          Figs. 16, 16B. 370 Patent, 7:21-24;
                                                                                          21:66-22:52; 28:17-20; 27:50-53;
                                                                                          29:51-57; 31:12-15; 32:54-58.
                                                                                          (WSNSDE0010104-68).




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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 59 of 79 PageID #: 1728
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                  AMENDED JOINT CLAIM CONSTRUCTION



U.S. PATENT NO. 6,870,920        NICE’S           WITNESS’            NICE’S PROPOSED                      WITNESS’ PROPOSED
                                 DISPUTED         DISPUTED            CONSTRUCTION                         CONSTRUCTION
                                 CLAIM TERMS      CLAIM TERMS
1. A method for accessing
information in at least one
digital logger storing data
associated with input from a
plurality of input channels,
comprising:
 at a Web server having                           Web server          A component that provides access     Computer that receives a request for
   access to said at least one                                        to information accessible for a      stored data, retrieves the stored
   digital logger, receiving a                                        computer connected to the Internet   data, and transfers the data over the
   request for retrieval of                                           or an intranet.                      World Wide Web.
   stored data from a client;
                                                                      Intrinsic evidence:                  Intrinsic evidence:
                                                                      Fig. 6                               ‘920 Patent, 4:66-67; 5:1-8, 13:3-
                                                                      col. 4: 66-67                        39; 15:6-20, 15:30-33
                                                                                                           (WSNSDE0010348-63).
                                                                      col. 5: 1-12
                                                                      col. 12: 65 - col. 13: 55
                                                                                                           ‘372 Patent, 4:51-58,12:11-43
                                                                      col. 15: 7-36
                                                                                                           (WSNSDE0009798-813).

                                                                                                           ‘372 Prosecution History,
                                                                                                           Amendment pg. 13, dated
                                                                                                           September 24, 2001
                                                                                                           (WSNSDE0009690-704)

                                                                                                           ‘920 Prosecution History, Notice of
                                                                                                           Allowability, pg. 2, dated October
                                                                                                           4, 2004 (WSNSDE0010330-32).
                                 digital logger   digital logger      A device, system or software for     A device, system or software for


                                                                   Page 58 of 77
                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 60 of 79 PageID #: 1729
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920      NICE’S           WITNESS’           NICE’S PROPOSED                      WITNESS’ PROPOSED
                               DISPUTED         DISPUTED           CONSTRUCTION                         CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                   recording, in digital form, audio    recording audio in digital form.
                                                                   data representing multiple
                                                                   concurrent telephone calls.
                                                                                                        Intrinsic evidence:
                                                                                                        ‘920 Patent, FIGs. 1 and 4, 5:1-12,
                                                                   Intrinsic evidence:                  5:42-60, 6:25-28, 6:56-57, 5: 7:9-
                                                                   col. 1: 51-57                        14, 7:38-54, 10:1323, 10: 26-31,
                                                                   col. 5: 1-12                         13:3-7, 13:21-28,
                                                                                                        (WSNSDE0010348-363).
                                                                   col. 6: 66 - col. 7: 16
                                                                   ’372 Prosecution History,
                                                                   Response, pp. 8-11 (Oct. 2001)       ‘920 Prosecution History, Response
                                                                                                        to Sept. 17, 2003 Office Action pg.
                                                                                                        6, dated February 11, 2004
                                                                                                        (WSNSDE0010247-55).
                                               receiving a         This claim phrase has a plain        The Web server receives a request
                                               request for         meaning that is clear and does not   for retrieval of data stored in the
                                               retrieval of        require construction.                digital logger.
                                               stored data
                                                                   Intrinsic evidence:                  Intrinsic evidence:
                                                                   Figs. 4-6                            ‘920 Patent, 1:14-17; 4:66-67; 5:5-
                                                                   col. 4: 29-33                        6; 13:21-28; 15:17-20
                                                                                                        (WSNSDE0010348-363).
                                                                   col. 4: 57-67
                                                                   col. 5: 1-12
                                                                   col. 10: 66 - col. 11: 41
                                                                   col. 12: 65 - col. 13: 40
                                                                   col. 15: 7-36
                                                                   claims 2-6, 16-28
 retrieving stored data in                     retrieving stored   This claim phrase has a plain        The Web server retrieves data
  accordance with the                          data                meaning that is clear and does not   stored in the digital logger.



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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 61 of 79 PageID #: 1730
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920        NICE’S         WITNESS’           NICE’S PROPOSED                      WITNESS’ PROPOSED
                                 DISPUTED       DISPUTED           CONSTRUCTION                         CONSTRUCTION
                                 CLAIM TERMS    CLAIM TERMS
   received request; and                                           require construction.
                                                                                                        Intrinsic evidence:
                                                                   Intrinsic evidence:                  ‘920 Patent, 1:14-17; 4:66-67; 5:5-
                                                                   Figs 4-6                             6; 13:14-28; 15:17-20
                                                                                                        (WSNSDE0010348-363).
                                                                   col. 4: 29-33
                                                                   col. 5: 1-12
                                                                   col. 10: 66 - col. 11: 41
                                                                   col. 12: 65 - col. 13: 40
                                                                   col. 15: 7-36
                                                                   claims 2-6, 16-28
 transferring the retrieved                     transferring the   This claim phrase has a plain        The Web server sends the data
   data to the client.                          retrieved data     meaning that is clear and does not   retrieved from the digital logger.
                                                                   require construction.
                                                                                                        Intrinsic evidence:
                                                                   Intrinsic evidence:                  ‘920 Patent, 1:14-17; 4:66-67; 5:5-
                                                                   Figs 4-6                             6; 13:21-28; 15:17-20
                                                                   col. 4: 29-33                        (WSNSDE0010348-363).
                                                                   col. 5: 1-12
                                                                   col. 10: 66 - col. 11: 41
                                                                   col. 12: 65 - col. 13: 40
                                                                   col. 15: 7-36
                                                                   claims 2-6, 16-28
3. The method of claim 2                       retrieving stored   This claim phrase has a plain        The Web server retrieves data
wherein the step of retrieving                 data                meaning that is clear and does not   stored in the digital logger.
stored data comprises                                              require construction.
accessing call information for
                                                                                                        Intrinsic evidence:
a record of an input channel
                                                                   Intrinsic evidence:                  ‘920 Patent, 1:14-17; 4:66-67; 5:5-
made by said at least one


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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 62 of 79 PageID #: 1731
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920      NICE’S           WITNESS’           NICE’S PROPOSED                        WITNESS’ PROPOSED
                               DISPUTED         DISPUTED           CONSTRUCTION                           CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
digital logger.                                                    Figs 4-6                               6; 13:14-28; 15:17-20
                                                                   col. 4: 29-33                          (WSNSDE0010348-363).
                                                                   col. 5: 1-12
                                                                   col. 10: 66 - col. 11: 41
                                                                   col. 12: 65 - col. 13: 40
                                                                   col. 15: 7-36
                                                                   claims 2-6, 16-28
                                               record of an        Stored voice and/or call information   A record identified by the input
                                               input channel       received from an input channel.        channel.

                                                                   Intrinsic evidence:                    Intrinsic evidence:
                                                                   col. 1: 40-52                          ‘920 Patent, 9:19-21; 11:14-19;
                                                                   col. 2: 7-16                           11:46-47 (WSNSDE0010348-363).
                                                                   col. 2: 37-38
                                                                   col. 3: 1-4
                                                                   col. 5: 1-12
                                                                   col. 8: 11-25
                                                                   col. 9: 18-21
                                                                   col. 10: 30-41
                                                                   col. 11: 10-41
                                                                   col. 13: 7-13
                              digital logger   digital logger      A device, system or software for       A device, system or software for
                                                                   recording, in digital form, audio      recording audio in digital form.
                                                                   data representing multiple
                                                                   concurrent telephone calls.
                                                                                                          Intrinsic evidence:
                                                                                                          ‘920 Patent, FIGs. 1 and 4, 5:1-12,
                                                                   Intrinsic evidence:                    5:42-60, 6:25-28, 6: 56-57, 5: 7:9-


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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 63 of 79 PageID #: 1732
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920        NICE’S         WITNESS’           NICE’S PROPOSED                      WITNESS’ PROPOSED
                                 DISPUTED       DISPUTED           CONSTRUCTION                         CONSTRUCTION
                                 CLAIM TERMS    CLAIM TERMS
                                                                   col. 1: 51-57                        14, 7:38-54, 10:1323, 10: 26-31,
                                                                   col. 5: 1-12                         13:3-7, 13:21-28,
                                                                                                        (WSNSDE0010348-363).
                                                                   col. 6: 66 - col. 7: 16
                                                                   ’372 Prosecution History,
                                                                   Response, pp. 8-11 (Oct. 2001)       ‘920 Prosecution History, Response
                                                                                                        to Sept. 17, 2003 Office Action pg.
                                                                                                        6, dated February 11, 2004
                                                                                                        (WSNSDE0010247-55).
6. The method of claim 1                       retrieving stored   This claim phrase has a plain        The Web server retrieves data
wherein the step of retrieving                 data                meaning that is clear and does not   stored in the digital logger.
stored data comprises                                              require construction.
accessing archived data at the
                                                                                                        Intrinsic evidence:
Web server corresponding to
                                                                   Intrinsic evidence:                  ‘920 Patent, 1:14-17; 4:66-67; 5:5-
a record of an input channel
made by said at least one                                          Figs 4-6                             6; 13:14-28; 15:17-20
digital logger.                                                    col. 4: 29-33                        (WSNSDE0010348-363).
                                                                   col. 5: 1-12
                                                                   col. 10: 66 - col. 11: 41
                                                                   col. 12: 65 - col. 13: 40
                                                                   col. 15: 7-36
                                                                   claims 2-6, 16-28
                                               Web server          A component that provides access     Computer that receives a request for
                                                                   to information accessible for a      stored data, retrieves the stored
                                                                   computer connected to the Internet   data, and transfers the data over the
                                                                   or an intranet.                      World Wide Web.

                                                                   Intrinsic evidence:                  Intrinsic evidence:
                                                                   Fig. 6                               ‘920 Patent, 4:66-67; 5:1-8, 13:3-
                                                                   col. 4: 66-67                        39; 15:6-20, 15:30-33



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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 64 of 79 PageID #: 1733
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920      NICE’S           WITNESS’          NICE’S PROPOSED                        WITNESS’ PROPOSED
                               DISPUTED         DISPUTED          CONSTRUCTION                           CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                  col. 5: 1-12                           (WSNSDE0010348-63);
                                                                  col. 12: 65 - col. 13: 55
                                                                  col. 15: 7-36                          ‘372 Patent, 4:51-58,12:11-43
                                                                                                         (WSNSDE0009798-813).

                                                                                                         ‘372 Prosecution History,
                                                                                                         Amendment pg. 13, dated
                                                                                                         September 24, 2001
                                                                                                         (WSNSDE0009690-704)

                                                                                                         ‘920 Prosecution History, Notice of
                                                                                                         Allowability, pg. 2, dated October
                                                                                                         4, 2004 (WSNSDE0010330-32).
                                               record of an       Stored voice and/or call information   A record identified by the input
                                               input channel      received from an input channel.        channel.

                                                                  Intrinsic evidence:                    Intrinsic evidence:
                                                                  col. 1: 40-52                          ‘920 Patent, 9:19-21; 11:14-19;
                                                                  col. 2: 7-16                           11:46-47 (WSNSDE0010348-363).
                                                                  col. 2: 37-38
                                                                  col. 3: 1-4
                                                                  col. 5: 1-12
                                                                  col. 8: 11-25
                                                                  col. 9: 18-21
                                                                  col. 10: 30-41
                                                                  col. 11: 10-41
                                                                  col. 13: 7-13




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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 65 of 79 PageID #: 1734
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                   AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920         NICE’S           WITNESS’            NICE’S PROPOSED                      WITNESS’ PROPOSED
                                  DISPUTED         DISPUTED            CONSTRUCTION                         CONSTRUCTION
                                  CLAIM TERMS      CLAIM TERMS
                                  digital logger   digital logger      A device, system or software for     A device, system or software for
                                                                       recording, in digital form, audio    recording audio in digital form.
                                                                       data representing multiple
                                                                       concurrent telephone calls.
                                                                                                            Intrinsic evidence:
                                                                                                            ‘920 Patent, FIGs. 1 and 4, 5:1-12,
                                                                       Intrinsic evidence:                  5:42-60, 6:25-28, 6: 56-57, 5: 7:9-
                                                                       col. 1: 51-57                        14, 7:38-54, 10:1323, 10: 26-31,
                                                                       col. 5: 1-12                         13:3-7, 13:21-28,
                                                                                                            (WSNSDE0010348-363).
                                                                       col. 6: 66 - col. 7: 16
                                                                       ’372 Prosecution History,
                                                                       Response, pp. 8-11 (Oct. 2001)       ‘920 Prosecution History, Response
                                                                                                            to Sept. 17, 2003 Office Action pg.
                                                                                                            6, dated February 11, 2004
                                                                                                            (WSNSDE0010247-55).
16. A method for accessing
information stored by at least
one digital logger storing data
associated with input from a
plurality of communication
channels, comprising:
 at a Web server having                            Web server          A component that provides access     Computer that receives a request for
   access to said information                                          to information accessible for a      stored data, retrieves the stored
   stored by at least one                                              computer connected to the Internet   data, and transfers the data over the
   digital logger over a                                               or an intranet.                      World Wide Web.
   communications network,
   receiving a request for
                                                                       Intrinsic evidence:                  Intrinsic evidence:
   retrieval of stored data
   from a user;                                                        Fig. 6                               ‘920 Patent, 4:66-67; 5:1-8, 13:3-
                                                                       col. 4: 66-67                        39; 15:6-20, 15:30-33
                                                                                                            (WSNSDE0010348-63);
                                                                       col. 5: 1-12



                                                                    Page 64 of 77
                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 66 of 79 PageID #: 1735
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920      NICE’S           WITNESS’           NICE’S PROPOSED                      WITNESS’ PROPOSED
                               DISPUTED         DISPUTED           CONSTRUCTION                         CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                   col. 12: 65 - col. 13: 55
                                                                   col. 15: 7-36                        ‘372 Patent, 4:51-58,12:11-43
                                                                                                        (WSNSDE0009798-813).

                                                                                                        ‘372 Prosecution History,
                                                                                                        Amendment pg. 13, dated
                                                                                                        September 24, 2001
                                                                                                        (WSNSDE0009690-704)

                                                                                                        ‘920 Prosecution History, Notice of
                                                                                                        Allowability, pg. 2, dated October
                                                                                                        4, 2004 (WSNSDE0010330-32).
                              digital logger   digital logger      A device, system or software for     A device, system or software for
                                                                   recording, in digital form, audio    recording audio in digital form.
                                                                   data representing multiple
                                                                   concurrent telephone calls.
                                                                                                        Intrinsic evidence:
                                                                                                        ‘920 Patent, FIGs. 1 and 4, 5:1-12,
                                                                   Intrinsic evidence:                  5:42-60, 6:25-28, 6: 56-57, 5: 7:9-
                                                                   col. 1: 51-57                        14, 7:38-54, 10:1323, 10: 26-31,
                                                                   col. 5: 1-12                         13:3-7, 13:21-28,
                                                                                                        (WSNSDE0010348-363).
                                                                   col. 6: 66 - col. 7: 16
                                                                   ’372 Prosecution History,
                                                                   Response, pp. 8-11 (Oct. 2001)       ‘920 Prosecution History, Response
                                                                                                        to Sept. 17, 2003 Office Action pg.
                                                                                                        6, dated February 11, 2004
                                                                                                        (WSNSDE0010247-55).
                                               receiving a         This claim phrase has a plain        The Web server receives a request
                                               request for         meaning that is clear and does not   for retrieval of data stored in the
                                               retrieval of        require construction.                digital logger.



                                                                Page 65 of 77
                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 67 of 79 PageID #: 1736
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920      NICE’S           WITNESS’             NICE’S PROPOSED                      WITNESS’ PROPOSED
                               DISPUTED         DISPUTED             CONSTRUCTION                         CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                               stored data
                                                                     Intrinsic evidence:                  Intrinsic evidence:
                                                                     Figs. 4-6                            ‘920 Patent, 1:14-17; 4:66-67; 5:5-
                                                                     col. 4: 29-33                        6; 13:21-28; 15:17-20
                                                                                                          (WSNSDE0010348-363).
                                                                     col. 4: 57-67
                                                                     col. 5: 1-12
                                                                     col. 10: 66 - col. 11: 41
                                                                     col. 12: 65 - col. 13: 40
                                                                     col. 15: 7-36
                                                                     claims 2-6, 16-28
 retrieving said stored data                   retrieving stored     This claim phrase has a plain        The Web server retrieves data
  from said information in                     data                  meaning that is clear and does not   stored in the digital logger.
  accordance with the                                                require construction.
  received request; and
                                                                                                          Intrinsic evidence:
                                                                     Intrinsic evidence:                  ‘920 Patent, 1:14-17; 4:66-67; 5:5-
                                                                     Figs. 4-6                            6; 13:21-28; 15:17-20
                                                                     col. 4: 29-33                        (WSNSDE0010348-363).
                                                                     col. 5: 1-12
                                                                     col. 10: 66 - col. 11: 41
                                                                     col. 12: 65 - col. 13: 40
                                                                     col. 15: 7-36
                                                                     claims 2-6, 16-28
 transferring the retrieved                    transferring the      This claim phrase has a plain        The Web server sends the data
   data to the client.                         retrieved data        meaning that is clear and does not   retrieved from the digital logger.
                                                                     require construction.
                                                                                                          Intrinsic evidence:
                                                                     Intrinsic evidence:                  ‘920 Patent, 1:14-17; 4:66-67; 5:5-


                                                                  Page 66 of 77
                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 68 of 79 PageID #: 1737
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920        NICE’S         WITNESS’           NICE’S PROPOSED                        WITNESS’ PROPOSED
                                 DISPUTED       DISPUTED           CONSTRUCTION                           CONSTRUCTION
                                 CLAIM TERMS    CLAIM TERMS
                                                                   Figs 4-6                               6; 13:14-28; 15:17-20
                                                                   col. 4: 29-33                          (WSNSDE0010348-363).
                                                                   col. 5: 1-12
                                                                   col. 10: 66 - col. 11: 41
                                                                   col. 12: 65 - col. 13: 40
                                                                   col. 15: 7-36
                                                                   claims 2-6, 16-28
18. The method of claim 17                     retrieving stored   This claim phrase has a plain          The Web server retrieves data
wherein the step of retrieving                 data                meaning that is clear and does not     stored in the digital logger.
stored data comprises                                              require construction.
accessing call information for
                                                                                                          Intrinsic evidence:
a record of a communication
                                                                   Intrinsic evidence:                    ‘920 Patent, 1:14-17; 4:66-67; 5:5-
channel made by said at least
one digital logger.                                                Figs 4-6                               6; 13:14-28; 15:17-20
                                                                   col. 4: 29-33                          (WSNSDE0010348-363).
                                                                   col. 5: 1-12
                                                                   col. 10: 66 - col. 11: 41
                                                                   col. 12: 65 - col. 13: 40
                                                                   col. 15: 7-36
                                                                   claims 2-6, 16-28
                                               record of a         Stored voice and/or call information   A record identified by a
                                               communication       received from a communication          communication channel.
                                               channel             channel.
                                                                                                          Intrinsic evidence:
                                                                   Intrinsic evidence:                    ‘920 Patent, 9:19-21; 11:14-19;
                                                                   col. 1: 40-52                          11:46-47. (WSNSDE0010348-363).
                                                                   col. 2: 7-16
                                                                   col. 2: 37-38



                                                               Page 67 of 77
                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 69 of 79 PageID #: 1738
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                  AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920        NICE’S           WITNESS’            NICE’S PROPOSED                      WITNESS’ PROPOSED
                                 DISPUTED         DISPUTED            CONSTRUCTION                         CONSTRUCTION
                                 CLAIM TERMS      CLAIM TERMS
                                                                      col. 3: 1-4
                                                                      col. 5: 1-12
                                                                      col. 8: 11-25
                                                                      col. 9: 18-21
                                                                      col. 10: 30-41
                                                                      col. 11: 10-41
                                                                      col. 13: 7-13
                                 digital logger   digital logger      A device, system or software for     A device, system or software for
                                                                      recording, in digital form, audio    recording audio in digital form.
                                                                      data representing multiple
                                                                      concurrent telephone calls.
                                                                                                           Intrinsic evidence:
                                                                                                           ‘920 Patent, FIGs. 1 and 4, 5:1-12,
                                                                      Intrinsic evidence:                  5:42-60, 6:25-28, 6: 56-57, 5: 7:9-
                                                                      col. 1: 51-57                        14, 7:38-54, 10:1323, 10: 26-31,
                                                                      col. 5: 1-12                         13:3-7, 13:21-28,
                                                                                                           (WSNSDE0010348-363).
                                                                      col. 6: 66 - col. 7: 16
                                                                      ’372 Prosecution History,
                                                                      Response, pp. 8-11 (Oct. 2001)       ‘920 Prosecution History, Response
                                                                                                           to Sept. 17, 2003 Office Action pg.
                                                                                                           6, dated February 11, 2004
                                                                                                           (WSNSDE0010247-55).
21. The method of claim 16                        retrieving stored   This claim phrase has a plain        The Web server retrieves data
wherein the step of retrieving                    data                meaning that is clear and does not   stored in the digital logger.
stored data comprises                                                 require construction.
accessing archived data at the
                                                                                                           Intrinsic evidence:
Web server corresponding to
                                                                      Intrinsic evidence:                  ‘920 Patent, 1:14-17; 13:14-
a record of a communication
channel made by said at least                                         Figs. 4-6                            28(WSNSDE0010348-363).
one digital logger.                                                   col. 4: 29-33



                                                                   Page 68 of 77
                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 70 of 79 PageID #: 1739
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920      NICE’S           WITNESS’          NICE’S PROPOSED                        WITNESS’ PROPOSED
                               DISPUTED         DISPUTED          CONSTRUCTION                           CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                  col. 5: 1-12
                                                                  col. 10: 66 - col. 11: 41
                                                                  col. 12: 65 - col. 13: 40
                                                                  col. 15: 7-36
                                                                  claims 2-6, 16-28
                                               Web server         A component that provides access       A computer that receives a request
                                                                  to information accessible for a        for stored data, retrieves the stored
                                                                  computer connected to the Internet     data, and transfers the data over the
                                                                  or an intranet.                        World Wide Web.

                                                                  Intrinsic evidence:                    Intrinsic evidence:
                                                                  Fig. 6                                 ‘920 Patent, 4:66-67; 5:1-8, 13:3-
                                                                  col. 4: 66-67                          39; 15:6-20, 15:30-33
                                                                                                         (WSNSDE0010348-63);
                                                                  col. 5: 1-12
                                                                  col. 12: 65 - col. 13: 55
                                                                                                         ‘372 Patent, 4:51-58,12:11-43
                                                                  col. 15: 7-36
                                                                                                         (WSNSDE0009798-813).

                                                                                                         ‘372 Prosecution History,
                                                                                                         Amendment pg. 13, dated
                                                                                                         September 24, 2001
                                                                                                         (WSNSDE0009690-704);

                                                                                                         ‘920 Prosecution History, Notice of
                                                                                                         Allowability, pg. 2, dated October
                                                                                                         4, 2004 (WSNSDE0010330-32).
                                               record of a        Stored voice and/or call information   A record identified by a
                                               communication      received from a communication          communication channel.
                                               channel            channel.


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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 71 of 79 PageID #: 1740
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,870,920      NICE’S           WITNESS’           NICE’S PROPOSED                     WITNESS’ PROPOSED
                               DISPUTED         DISPUTED           CONSTRUCTION                        CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS

                                                                   Intrinsic evidence:                  Intrinsic evidence:
                                                                   col. 1: 40-52                       ‘920 Patent, 9:19-21; 11:14-19;
                                                                   col. 2: 7-16                        11:46-47 (WSNSDE051297-99).
                                                                   col. 2: 37-38
                                                                   col. 3: 1-4
                                                                   col. 5: 1-12
                                                                   col. 8: 11-25
                                                                   col. 9: 18-21
                                                                   col. 10: 30-41
                                                                   col. 11: 10-41
                                                                   col. 13: 7-13
                              digital logger   digital logger      A device, system or software for    A device, system or software for
                                                                   recording, in digital form, audio   recording audio in digital form.
                                                                   data representing multiple
                                                                   concurrent telephone calls.
                                                                                                       Intrinsic evidence:
                                                                                                       ‘920 Patent, FIGs. 1 and 4, 5:1-12,
                                                                   Intrinsic evidence:                 5:42-60, 6:25-28, 6: 56-57, 5: 7:9-
                                                                   col. 1: 51-57                       14, 7:38-54, 10:1323, 10: 26-31,
                                                                   col. 5: 1-12                        13:3-7, 13:21-28,
                                                                                                       (WSNSDE0010348-363).
                                                                   col. 6: 66 - col. 7: 16
                                                                   ’372 Prosecution History,
                                                                   Response, pp. 8-11 (Oct. 2001)      ‘920 Prosecution History, Response
                                                                                                       to Sept. 17, 2003 Office Action pg.
                                                                                                       6, dated February 11, 2004
                                                                                                       (WSNSDE0010247-55).




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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 72 of 79 PageID #: 1741
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION



U.S. PATENT NO. 6,959,079         NICE’S        WITNESS’           NICE’S PROPOSED                        WITNESS’ PROPOSED
                                  DISPUTED      DISPUTED           CONSTRUCTION                           CONSTRUCTION
                                  CLAIM TERMS   CLAIM TERMS
1. A monitoring system for
monitoring interactions of an
agent with customers
comprising:
 a voice logger to receive and
   record audio of a telephone
   call of said agent;
 a screen logger to receive and
   record video screen data
   associated with interactions
   of said agent with a
   computer during the
   telephone call; and
 an event manager to                            event manager      A component, which as a result of      Device that controls the voice
  determine whether said                                           receiving input, controls the          logger and screen logger to begin
  interactions with the                                            recording of audio and/or screen       recording audio and video screen
  computer during the                                              data or the playback of audio and/or   data of the telephone call
  telephone call meet at least                                     screen data.
  one predefined
                                                                                                          Intrinsic evidence:
  monitoring condition.
                                                                   Intrinsic evidence:                    ‘079 Patent, FIGs. 1 and 2, 3:23-44,
                                                                   Fig. 1                                 4:10-20, 4: 34-36, 4:53-65, 8:19-33
                                                                   Fig. 2                                 (WSNSDE0010480-98).
                                                                   col. 3: 23 - col. 4: 36
                                                                   col. 9: 10 - col. 10: 19
                                                predefined         A condition set prior to the           A monitoring condition established
                                                monitoring         telephone call which is used to        prior to the call, where a predefined
                                                condition          determine whether to record audio      monitoring condition does not
                                                                   and/or screen data related to the      include: (1) schedules of agents,


                                                                Page 71 of 77
                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 73 of 79 PageID #: 1742
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 6,959,079      NICE’S           WITNESS’      NICE’S PROPOSED            WITNESS’ PROPOSED
                               DISPUTED         DISPUTED      CONSTRUCTION               CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                              telephone call.            including the ‘log-on’ of an agent
                                                                                         or the beginning of shift or other
                                                                                         automated action initiated before an
                                                              Intrinsic evidence:
                                                                                         agent receives a call, and (2) a
                                                              col. 3: 43 - col. 4: 20    number of calls to be recorded in a
                                                              col. 4: 49 - col. 8: 33    predefined period of time.
                                                              col. 9: 10 - col. 10: 19
                                                                                         Intrinsic evidence:
                                                                                         ‘079 Patent, 3:43-4:20, 42-48, 4:56-
                                                                                         65, 5:17-21, 5:31-35, 5:46-47, 5:58-
                                                                                         61, 6:7-10, 6:20-22, 6:60-62, 7:2-6,
                                                                                         7:13-18, 7:25-27, 7:35-37, 7:45-47,
                                                                                         7:55-57, 8:1-3, 8:10-14, 8:36-46
                                                                                         (WSNSDE0010480-98).

                                                                                         ‘079 Prosecution History,
                                                                                         Amendment pg. 5-6, dated January
                                                                                         24, 2005 (WSNSDE0010455-61).




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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 74 of 79 PageID #: 1743
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION



U.S. PATENT NO. 7,010,109         NICE’S        WITNESS’        NICE’S PROPOSED                         WITNESS’ PROPOSED
                                  DISPUTED      DISPUTED        CONSTRUCTION                            CONSTRUCTION
                                  CLAIM TERMS   CLAIM TERMS
1. A method for recording at
least a portion of one or more
of a plurality of IP data
sessions, each being between
at least a first communication
device and a second
communication device through
a network by a recording
device, comprising for each IP
data session:
 initiating the data session by
   said first communication
   device with said second
   communication device;
 implementing the data            conference    conference      A component that initiates, enables     Device that initiates, establishes and
  session as a conference call    controller    controller      and/or establishes a conference call.   enables a conference call.
  through a conference
  controller such that said
                                                                Intrinsic evidence:                     Intrinsic evidence:
  first and second
  communication devices are                                     col. 2: 27-32                           ‘109 Patent, 5:6-10; 5:46-52; 6:17-
  connected, respectively, as                                   col. 3: 39-43                           32; 6:58-63 (WSNSDE0010653-
  first and second                                                                                      67).
                                                                col. 5: 9-10
  participants;                                                 col. 5: 46-52
                                                                                                        Prosecution History of U.S. Pat.
                                                                col. 6: 21-23
                                                                                                        No. 7,010,106 (‘106 Prosecution
                                                                col. 6: 59-63                           History), Response to Final, pg. 20-
                                                                                                        21, dated September 11, 2005
                                                                                                        (WSNSDE051234-55).

                                                                                                        ‘109 Prosecution History,


                                                             Page 73 of 77
                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 75 of 79 PageID #: 1744
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 7,010,109        NICE’S         WITNESS’        NICE’S PROPOSED                      WITNESS’ PROPOSED
                                 DISPUTED       DISPUTED        CONSTRUCTION                         CONSTRUCTION
                                 CLAIM TERMS    CLAIM TERMS
                                                                                                     Amendment Under 37 C.F.R.
                                                                                                     1.111, pg. 26-27, dated October 6,
                                                                                                     2005 (WSNSDE0010597-625).
                                                through a       By use of a conference controller.   The data packet transmissions of
                                                conference                                           the IP data session pass through the
                                                controller                                           conference controller.
                                                                Intrinsic evidence:
                                                                col. 5: 9-14
                                                                                                     Intrinsic evidence:
                                                                                                     ‘124 Application, pg. 3;
                                                                                                     (WSNSDE051300-22).

                                                                                                     ‘109 Patent, 2:5-12; 2:27-31; 5:2-
                                                                                                     10; 5:22-6:2; 6:17-32; 6:58-63
                                                                                                     (WSNSDE0010653-67).

                                                                                                     ‘106 Prosecution History,
                                                                                                     Response, pg. 6-7, dated December
                                                                                                     19, 2004 (WSNSDE051165-72).

                                                                                                     ‘109 Prosecution History,
                                                                                                     Amendment Under 37 C.F.R.
                                                                                                     1.111, pg. 26-27, dated October 6,
                                                                                                     2005 (WSNSDE0010597-625).
 using the conference                           recording       A device which records IP audio      Participant to a session that receives
  controller, selectively                       device          and/or video data.                   data for recording and monitoring
  entering the recording                                                                             and does not require an additional
  device to said conference                                                                          connection or port in the network.
                                                                Intrinsic evidence:
  call as an additional
  participant, wherein the                                      col. 2: 2-8
                                                                                                     Intrinsic evidence:
  recording device is distinct


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                 Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 76 of 79 PageID #: 1745
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                  AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 7,010,109       NICE’S            WITNESS’           NICE’S PROPOSED                         WITNESS’ PROPOSED
                                DISPUTED          DISPUTED           CONSTRUCTION                            CONSTRUCTION
                                CLAIM TERMS       CLAIM TERMS
   from the first and second                                                                                 ‘109 Patent, 4:44 – 5:5; 5:32-51;
   communication devices yet                                                                                 6:16-45. (WSNSDE0010653-67).
   receives as the additional
   participant at least the
   portion of the IP data
   session from each of the
   first and second
   participants; and
                                                  entering the       NICE has provided constructions         Joining the recording device to the
                                                  recording          for “recording device,” “conference     conference call as an additional
                                                  device to said     call,” and the parties have agreed to   participant after the conference call
                                                  conference call    a construction for “participant.” The   has been established between the
                                                  as an additional   remaining words have a plain            first and second participants.
                                                  participant        meaning that is clear and do not
                                                                     require further construction.
                                                                                                             Intrinsic evidence:
                                                                                                              This is based on the plain language
                                                                     Intrinsic evidence:                     of the claim.
                                                                     See citations to intrinsic evidence
                                                                     for “recording device” and
                                                                     “conference call.”
                                IP data session                      Communication which includes            The plurality of data packet
                                                                     transmission of IP audio and/or         transmission between any two or
                                                                     video data.                             more communication devices.

                                                                     Intrinsic evidence:                     Intrinsic evidence:
                                                                     col. 1: 40-41                           ‘109 Patent, col. 1, ll. 38-55; 2:5-
                                                                     col. 2: 8-12                            12; 3:15-25; 3:36-43; 4:9-16; 4:65-
                                                                                                             5:5; 5:22-39; 5:53-6:2; 6:11-13;
                                                                     col. 3: 15-22
                                                                                                             6:17-32; (WSNSDE0010653-67).
                                                                     col. 4: 9-24



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                Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 77 of 79 PageID #: 1746
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 7,010,109      NICE’S           WITNESS’            NICE’S PROPOSED                       WITNESS’ PROPOSED
                               DISPUTED         DISPUTED            CONSTRUCTION                          CONSTRUCTION
                               CLAIM TERMS      CLAIM TERMS
                                                                                                          Provisional Application No.
                                                                                                          60/228,124 (the ‘124 Application),
                                                                                                          pg. 3 (WSNSDE051300-22).

                                                                                                          ‘106 Prosecution History,
                                                                                                          Response, pg. 6-7, dated December
                                                                                                          19, 2004 (WSNSDE051165-72),
                                                                                                          Response, pg. 9; dated April 14,
                                                                                                          2005 (WSNSDE051208-16),
                                                                                                          Response to Final, pg. 20-21, dated
                                                                                                          September 11, 2005
                                                                                                          (WSNSDE051234-55).

                                                                                                          ‘109 Prosecution History,
                                                                                                          Amendment Under 37 C.F.R.
                                                                                                          1.111, pg. 25-26, dated October 6,
                                                                                                          2005. (WSNSDE0010597-625).
                                                the portion of      At least a part of one or more of a   All the data packets transmitted
                                                the IP data         plurality of IP data sessions.        between the first and second
                                                session                                                   participants during the part of the IP
                                                                                                          data session being recorded.
                                                                    Intrinsic evidence:
                                                                    col. 3: 23-25
                                                                                                          Intrinsic evidence:
                                                                    col. 7: 6-7
                                                                                                           ‘109 Patent, col. 1, ll. 38-55; 2:5-
                                                                                                          12; 3:15-25; 3:36-43; 4:9-16; 4:65-
                                                                                                          5:5; 5:22-39; 5:53-6:2; 6:11-13;
                                                                                                          6:17-32; (WSNSDE0010653-67).

                                                                                                          Provisional Application No.
                                                                                                          60/228,124 (the ‘124 Application),



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                  Case 1:06-cv-00311-JJF Document 128-1 Filed 04/25/07 Page 78 of 79 PageID #: 1747
NICE v. Witness, Civil Action No. 06-311-JJF (D. Del.)
                                                AMENDED JOINT CLAIM CONSTRUCTION

U.S. PATENT NO. 7,010,109         NICE’S        WITNESS’      NICE’S PROPOSED       WITNESS’ PROPOSED
                                  DISPUTED      DISPUTED      CONSTRUCTION          CONSTRUCTION
                                  CLAIM TERMS   CLAIM TERMS
                                                                                    pg. 3, paragraphs 1 and 2;
                                                                                    (WSNSDE051300-22).

                                                                                    ‘106 Prosecution History,
                                                                                    Response, pg. 6-7, dated December
                                                                                    19, 2004 (WSNSDE051165-72),
                                                                                    Response, pg. 9; dated April 14,
                                                                                    2005; (WSNSDE051208-16),
                                                                                    Response to Final, pg. 20-21, dated
                                                                                    September 11, 2005;
                                                                                    (WSNSDE051234-55).

                                                                                    ‘109 Prosecution History,
                                                                                    Amendment Under 37 C.F.R.
                                                                                    1.111, pg. 25-26, dated October 6,
                                                                                    2005. (WSNSDE0010597-625).
 recording at least the portion
   of the IP data session
   received as the additional
   participant of said
   conference call using said
   recording device.




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